FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                   INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 1 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




          SUPREME                  COURT              OF THE                 STATE            OF      NEW YORK
         COUNTY                OF         NEW YORK


          Uniformed                 Fire     Officers             Association;                Uniformed                          Index   No.:
          Firefighters              Association                   of    Greater           New        York;
                                   Officers'
          Correction                                   Benevolent                  Association                   of the

          City       of New           York,          Inc.;        Police         Benevolent                                      MEMORANDUM                OF     LAW    IN
          Association                of the       City         of New             York,       Inc.;        Sergeants             SUPPORT          OF   VERIFIED
          Benevolent                Association;                  Lieutenants                Benevolent                          PETITION/COMPLAINT                     AND
          Association;                Captains               Endowment                    Association;                and        PROPOSED           ORDER       TO SHOW
          Detectives'
                                     Endowment                    Association,                                                   CAUSE          SEEKING     TEMPORARY
                                                                                                                                 RESTRAINING              ORDER     AND
                                                  Petitioners/Plaintiffs,                                                        PRELIMINARY              INJUNCTION


                        -against-                                                                                                ORAL      ARGUMENT             REQUESTED


          Bill       de Blasio,             in his      official           capacity           as Mayor                of   the

          City       of New           York;          the     City        of New            York;          Fire
          Department                 of the       City         of New             York;       Daniel             A.

          Nigro,         in his       official          capacity                as the     Commissioner                     of

          the    Fire        Department                of the          City       of New            York;         New
          York        City         Department                of     Correction;               Cynthia             Brann,
          in her        official           capacity          as the          Commissioner                    of the
          New         York         City      Department                    of    Correction;               Dermot           F.

          Shea,        in his        official         capacity             as the         Commissioner                     of

          the    New          York         City       Police           Department;                  the    New         York

          City       Police         Department;                   Frederick              Davie,           in his
          official        capacity              as the       Chair           of the       Civilian
          Complaint                Review            Board;            and       the     Civilian
          Complaint                Review            Board,


                                                  Respondents/Defendants.




                                                                                                           1 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                     INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 2 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




                                                                                             TABLE                 OF        CONTENTS




         PRELIMINARY                             STATEMENT                              ....................................................................................................                                                            ii

         FACTUAL                    BACKGROUND.........................................................................................................                                                                                                 4

         ARGUMENT..................................................................................................................................                                                                                                     4

         I.               The       Court         Should              Grant           a Preliminary                     Injunction                 and        Temporary                    Restraining                   Order

                          Enjoining              Any          Public          Release               of Unsubstantiated                              and       Non-Final                   Allegations                    Pending                  the

                          Outcome               of    This         Proceeding.                    .............................................................................................                                                         4

              A.         Legal         Standard.....................................................................................................................                                                                                    4

                         Petitioners'
              B.                                     Members                 Will         Be       Irreparably                   Injured           by      the      Public           Release               of

                         Unsubstantiated                        and       Non-Final                  Allegations,                    Which              Is Imminent                    and         Irreversible.                    ...........         6

              C.         The       Balance             of the          Equities              Favors            Petitioners                 Because                an Injunction                      Merely            Preserves

                         the     Status         Quo and Will                        Not       Prejudice                Respondents,                       Whereas                a Denial               of      Relief          May
                                                 Petitioners'
                         Extinguish                                               Rights.............................................................................................                                                                   9

              D.         Petitioners              Are         Likely          to      Succeed               on Multiple                    Claims             for     Relief.....................................                                  11

                               Respondents'
                    1.                                          Release              Would             Interfere              with         Collective                Bargaining                     Rights..................                       11

                                                                                                                                                                                                                    Petitioners'
                    2.         Publication                 of Unsubstantiated                              and       Non-Final                  Allegations                   Would                Violate
                               Members'
                                                       Constitutional                       Rights            to Due             Process             of    Law           Under           the        Federal           and       New
                               York        State          Constitutions................................................................................................                                                                            13

                                                                                                                                                                                                                    Petitioners'
                    3.         Publication                 of Unsubstantiated                              and       Non-Final                  Allegations                   Would                Violate
                               Members'
                                                       Constitutional                       Rights            to Equal               Protection                of     Law         Under              the     Federal                and

                               New        York            State       Constitutions.                      ......................................................................................                                                   19

                    4.         Release           of the           Documents                    Would             Constitute                 a Breach                of     Settlement                  Agreements.                        .....    21

                               Respondents'
                    5.                                          Decision               to Release                  Unsubstantiated                          and       Non-Final                    Allegations                  Was

                               Affected              By      Errors          of      Law         or Was             Arbitrary                and        Capricious.......................................                                          23


                          a)        It Is an Error                  of    Law           to Release                 Unsubstantiated                     and            Non-Final                    Allegations,                     which
                                                                                                                                             Petitioners'
                                    Violates              the     Legally              Protected                Interests             of                                   Members.                   ...........................                  24


                          b)        It Is Arbitrary                    and        Capricious                  To      Break           with         Long-Established                                Practice           Without                 a

                                    Sound            Basis         in Reason                 or Due             Regard             to the          Relevant               Facts.           ..................................                      27

         CONCLUSION.............................................................................................................................                                                                                                   29




                                                                                                                             .
                                                                                                                             1




                                                                                                                   2 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                             INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 3 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




                                                                                          TABLE                OF AUTHORITIES


                                                                                                                                                                                                                     Page(s)


         Cases


         Able        v. United               States,
                 155        F.3d        628         (2d      Cir.        1998)...............................................................................................19,                                               20


         Aetna         Ins.       Co.        v. Capasso,
                 75 N.Y.2d                   860       (1990)................................................................................................................4


         AIU        Ins.        Co.     v. Robert                Plan         Corp.,
                 44    A.D.3d                355       (1st      Dep't            2007)................................................................................................9


         Am.        Economy              Ins.         Co.        v. State           of New            York,
                 30 N.Y.3d                   136       (2017)..............................................................................................................17


         Barbes            Rest.,       Inc.         v. ASRR               Suzer         218,
                 140        A.D.3d            430         (1st       Dep't           2016)....................................................................................6,                                          9,   11


         Bd.        of Educ.           of Middletown                         Enlarged                City       Sch.       Dist.        v. Douglas,
                 No.       4305/06,                 2006         WL          6851993              (Sup.         Ct.,      N.Y.         Cnty.          July       7, 2006)......................................6


         Bd.        of Regents               of State            Colls.          v. Roth,
                 408        U.S.        564         (1972).................................................................................................................13


         Brandt            v. Bd.       of     Coop.             Educ.           Servs.,
                 820        F.2d        41     (2d        Cir.       1987).......................................................................................................15


         Bursac            v. Suozzi,
                 22    Misc.            3d     328         (Sup.          Ct.,     Nassau             Cnty.         2008).......................................................7,                                 15,   16,   17


         In    re     Charles           A Field               Delivery               Serv.        Inc.,
                 66 N.Y.2d                   516       (1985)..............................................................................................................27


         In    re     Cohoes            City         Sch.        Dist.         v Cohoes               Teachers              Assn.,
                 40 N.Y.2d                   774       (1976)................................................................................................................8


         Matter            of    Crawford                 v New             York        City       Dep't          of Info.           Tech.         &     Telecomm.,
                 2017           N.Y.         Slip       Op.         30982(U),                21     (Sup.         Ct.,      N.Y.         Cnty.          2017)...............................................23


         In    re     Cullman                Ventures,               Inc.,
                 252        A.D.2d             222        (1st       Dep't           1998)..............................................................................................5


         DiBlasio               v. Novello,
                 344        F.3d        292         (2d      Cir.        2003)...............................................................................................13,                                               14




                                                                                                                            ..
                                                                                                                            H




                                                                                                                   3 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                      INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 4 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




         Doe       v. Greco,
                  62 A.D.2d            498        (3d       Dep't          1978).................................................................................................7


         Dolman           v. U.S.        Trust           Co.,
                  2 N.Y.2d         110       (1956)................................................................................................................21


         Dorsett         v. Cnty.        of Nassau,
                  289    F.R.D.        54      (E.D.N.Y.                   2012)...............................................................................................25


         Encino         Motorcars,                LLC           v. Navarro,
                  136    S. Ct.     2117           (2016).......................................................................................................24,                                            28


         Felix      v. Brand           Serv.         Grp.          LLC,
                  101    A.D.3d          1724            (4th      Dep't           2012)............................................................................................9


         FTI      Consulting,            Inc.         v.    PWC            LLP,
                  8 A.D.3d         145       (1st          Dep't         2004)..................................................................................................6


          Gambale           v. Deutsche                  Bank         AG,
                  377    F.3d     133        (2d        Cir.       2004).......................................................................................................6


          Gen.     Motors         Corp.           v. Romein,
                  503    U.S.     181        (1992)...........................................................................................................17,                                              18



          Goldberg           v. Kelly,
                  397    U.S.     254        (1970).................................................................................................................14


         Held       v. Hall,
                  190    Misc.      2d       444         (Sup.          Ct.,     Westchester                   Cnty.          2002)...............................................................7


         Hughes          Hubbard             &      Reed           LLP         v. Civilian               Complaint                 Review            Bd.,
                  53 Misc.        3d     947         (Sup.          Ct.,       Kings          Cnty.         2016).....................................................................2,                       28


         Klein,         Wagner         &     Morris              v. Lawrence                   A. Klein,             P.C.,
                  186    A.D.2d          631        (2d         Dep't          1992)...............................................................................................6


         Knox       v. N.Y.       City       Dep't              of Educ.,
                  85 A.D.3d            439        (1st      Dep't           2011)..............................................................................................13



         Landgraf           v. USI         Film          Prods.,
                  511    U.S.     244        (1994)...........................................................................................................17,                                              18


         Lee      TT.    v. Dowling,
                  87 N.Y.2d            699        (1996)..............................................................................................................14


         In    re Liquidation                of     Union            Indem.            Ins.      Co.       of N.Y.,
                  92 N.Y.2d            107        (1998)..............................................................................................................27




                                                                                                                      ...
                                                                                                                      111




                                                                                                              4 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 5 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




         Matter         of Luongo                v. Records                Access            Appeals              Off,
                 168     A.D.3d             504       (1st      Dep't           2019)............................................................................................26


         Matter         of Luongo                v. Records                Access             Off,
                 150     A.D.3d             13 (1st          Dep't            2017)..............................................................................................28


         Madison          Ave.         v. Madison                   Bentley,
                30 A.D.3d                1 (1st        Dep't           2006)..................................................................................................21


         Masjid          Usman,           Inc.        v. Beech              140,        LLC,
                68 A.D.3d                942       (2d       Dep't          2009).................................................................................................6


         McCain           v. Koch,
                70 N.Y.2d                109       (1987)................................................................................................................5


         Melvin         v. Union             Coll.,
                 195     A.D.2d             447       (2d      Dep't            1993).............................................................................................10


         Merscorp,           Inc.        v. Romaine,
                295      A.D.2d             431       (2d      Dep't           2002).............................................................................................11


         Morgan           Stanley           &      Co.       Inc.       v. Archer              Daniels,
                570      F. Supp.              1529         (S.D.N.Y.                 1983).........................................................................................21


         Mulgrew           v. Bd.           Of Educ.               of the         City       of N.Y.,
                 87 A.D.3d               506       (1st      Dep't            2011)..............................................................................................23


         Myers         v. Schneiderman,
                30 N.Y.3d                1, 85 N.E.3d                    57      (2017)...........................................................................................19

                           Lawyers'
         N.Y.     City                             Ass'n            v. State,
                 192     Misc.         2d      424        (Sup.         Ct.,      N.Y.         Cnty.         2002)..........................................................................5


         New      York      v. City            of N.Y.,
                275      A.D.2d             740       (2d      Dep't           2000).......................................................................................10,                           11


         Nestle        Waters          N. Am.,              Inc.      v. City           of N.Y.,
                 121     A.D.3d             124       (1st      Dep't           2014)............................................................................................24


         N.Y.     Times          Co.      v. City           of N.Y.            Fire       Dep't,
                4 N.Y.3d            477         (2005)................................................................................................................25


         Novus         Partners,            Inc.       v.     Vainchenker,
                32 Misc.            3d      1241(A),                2011         N.Y.         Slip       Op.       51666           (U)
                (Sup.      Ct.,     N.Y.           Cnty.           2011).......................................................................................................6




                                                                                                                       .
                                                                                                                       1V




                                                                                                               5 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                      INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 6 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




         Paloger            v. Cohen,
                 37 Misc.             3d     1220(A),                 2012         N.Y.          Slip       Op.        52098(U)
                 (Sup.        Ct.,      Nassau             Cnty.           2012)....................................................................................................6


         Patterson             v. City           of     Utica,
                 370       F.3d       322        (2d       Cir.       2004).....................................................................................................15


         Pension            Benefit          Guar.             Corp.          v. R.A.          Gray             &    Co.,
                 467       U.S.       717        (1984).................................................................................................................17


         People            v. David          W.,
                 95 N.Y.2d                 130        (2000)........................................................................................................15,                                           16


         People            v. Gissendanner,
                 48 N.Y.2d                 543        (1979)..............................................................................................................26


         Red        Ball     Interior            Demolition                    Corp.          v. Palmadessa,
                 173       F.3d       481        (2d       Cir.       1999).....................................................................................................21


         Saferstein            v.     Wendy,
                 137       Misc.2d           1032            (Sup.          Ct.,      N.Y.         Cnty.            1987).........................................................................5


         Sciolino           v. City         of Newport                     News,           Va.,
                 480       F.3d       642        (4th        Cir.       2007)...................................................................................................14


         Shuman             ex rel.        Shertzer               v. Penn             Manor             Sch.        Dist.,
                 422       F.3d       141        (3d       Cir.       2005).....................................................................................................19


         Skandia            America              Reinsurance                       Corp.         v. Schenck,
                 441       F. Supp.          715           (S.D.N.Y.                  1977)..........................................................................................21


         Swinton            v. Safir,
                 93 N.Y.2d                 758        (1999)........................................................................................................13,                                           15


         Sylmark            Holdings              Ltd.         v. Silicone                Zone          Int'l       Ltd.,
                 5 Misc.            3d 285            (Sup.         Ct.,      N.Y.          Cnty.          2004)..............................................................................5


          Terrell          v. Terrell,
                 279       A.D.2d           301         (1st        Dep't          2001)..............................................................................................5


          U.S.      Dep't         of Justice              v. Reporters                    Comm.,
                 489       U.S.       749        (1989).................................................................................................................14


          Valmonte             v. Bane,
                 18 F.3d             992    (2d         Cir.        1994)...........................................................................................14,                                     15,   17




                                                                                                                    6 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                    INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 7 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




          Westchester                  Cnty.          Dep't           of Pub.            Safety          Police           Benev.            Ass'n,           Inc.       v.     Westchester

                 Cnty.,
                 35 A.D.3d                   592        (2d        Dep't         2006).................................................................................................1



          Yung        Bros.         Real          Estate            Co.,       Inc.       v. Limandri,
                 26     Misc.           3d       1203(A),               2009          N.Y.          Slip       Op.        52653(U)                 (Sup.         Ct.,        N.Y.       Cnty.
                 Dec.         29,      2009)............................................................................................................................5


         Statutes


         CPL       § 160.50                  .................................................................................................................................20


         CPLR           §§ 6301..................................................................................................................................5


         CPLR           § 6313(a)...............................................................................................................................5


         CPLR           § 7502(c).....................................................................................................................5,                                                                             9,    11


         CPLR           § 7803(3).............................................................................................................3,                                                                            23,    24,     27


         CPLR           § 7805....................................................................................................................................5


         CSL       § 201(4)..................................................................................................................................12


         CSL       § 203            ......................................................................................................................................12


         N.Y.         Civil         Rights            Law          § 50-a          et seq......................................................................................                                                   passim


         Other          Authorities

                                                                                                                                                                                   Uniform'
         Benjamin               Mueller                &      Al     Baker,           Police            Officer           Is      'Murdered                for       Her                               in
                 the     Bronx,              N.Y.          Times           (July         5, 2017),
                 available               at https://tinyurl.com/y7ngmdth...............................................................................20


         Comm.            on        Open           Gov't,           Adv.          Op.       No.        FOIL-AO-12005                              (Mar.          21,       2000),
                 available               at https://does.dos.ny.gov/coog/ftext/f12005.htm....................................................27


         Comm.            on        Open           Gov't,           Adv.          Op.       No.        FOIL-AO-17195                              (May           29,      2008),
                 available               at https://does.dos.ny.gov/coog/ftext/f17195.html                                                                           ..................................................26


         Developments                         in the         Law,          Injunctions,
                 78 Harv.               L.      Rev.         994,        1056          (1965)..........................................................................................11


         Enforcement                    Actions,               Office           of the          Professions,
                 available               at http://www.op.nysed.gov/opd/rasearch.htm#......................................................20




                                                                                                                                 .
                                                                                                                               V1




                                                                                                                     7 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 8 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




         John      Kelly        &    Mark         Nichols,              We found               85,000            cops         who've            been         investigated              for
                misconduct.              Now         you       can       read         their       records,
                USA     Today             (June
                                            11, 2020),                           available            at https://www.usatoday.com/in-
                depth/news/investigations/2019/04/24/usa-today-revealing-misconduct-

                records-police-cops/3223984002/............................................................................................10


         N.Y.      Const.         Art.      1, § 6...................................................................................................................13


         N.Y.      Const.         Art.      1, § 11.................................................................................................................13


         N.Y.      Senate         Bill      S8496,
                available            at https://www.nysenate.gov/                                         legislation/bills/2019/s8496.....................................25


          Office      of the        Professions,               New          York          State,
                available            at http://www.op.nysed.gov/home.html                                                         (last      accessed               July    5, 2020)......................19


         U.S.      Const.        amend.           XIV................................................................................................................13


          11 Williston              on   Contracts               § 30:19            (4th       ed.      2020)..........................................................................22




                                                                                                                     ..
                                                                                                                   V11




                                                                                                           8 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                               INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 9 of 41
                                                                     RECEIVED  NYSCEF: 07/14/2020




                                                                            PRELIMINARY                             STATEMENT

                        For      more        than        four      decades,              all     disciplinary              records             of    firefighters,              corrections              officers,


         and       police       officers          were          treated         as confidential                  and       not      subject           to     public          disclosure           under          New

                                                                                                                                50-al
         York        law.       Until      the      repeal        of N.Y.             Civil      Rights         Law        §               last       month,          Respondents/Defendants


         ("Respondents")2
                                                recognized               that        release         of   certain         of     these     disciplinary                    records        would          not     only

                                                                                                                                                             officers'
         violate       that      law,      but    would          constitute             an unwarranted                    invasion             of the                           privacy        rights.         Now,


         Respondents                have         indicated             that,     as early            as July        15,    2020,         they        intend         to     conduct         a massive                 data



         dump         to include,            among           others,           the     very       records        that      the      City       previously                recognized             could          not     be


         disclosed            without           violating          the     privacy             rights      of those            firefighters,               corrections            officers,        and         police


                                                                            ("Petitioners")3
         officers.            Petitioners/Plaintiffs                                                           therefore            move            for     a temporary               restraining               order


         and     preliminary               injunction             to prevent             Respondents                  from        releasing               and     publicizing             these    databases,



         including            allegations             that       are      non-final,             unsubstantiated,                   unfounded,                    exonerated,             or    that     resulted


         in     a finding          of     not      guilty         ("Unsubstantiated                        and       Non-Final                 Allegations")                  brought          against           New




                        1
                      Section 50-a provided       that "[a]ll personnel      records used to evaluate performance         toward continued
                             promotion"
         employment      or                of police officers,     corrections    officers, paid firefighters,    and others, "shall be considered
                                                                                                             consent"
         confidential   and not subject to inspection        or review without       the express written               of the employee   or as
                                          order."
         "mandated     by  lawful   court            Civ.   Rights  Law     § 50-a(1).

                        2 "Respondents"                               herein as Bill de Blasio, the City of New York (the "City"),
                                                      is defined                                                                      the Fire Department
         of the City of New York,                    Daniel       A. Nigro, the New York City Department       of Correction,  Cynthia Brann, Dermot F.
         Shea, the New York City                     Police       Department   ("NYPD"),     Frederick Davie, and the Civilian  Complaint    Review Board
         ("CCRB").

                        3 "Petitioners"                           Unions"
                                                   and "the                          are each defined            herein        as the Uniformed                   Fire Officers        Association,
                                                                                                                                       Officers'
         Uniformed            Firefighters        Association             of Greater           New   York,       the Correction                                   Benevolent         Association    of the
         City    of New        York, Inc., the Police Benevolent                               Association          of the City of New                    York,    Inc.,    the Sergeants Benevolent
                                                                                                                                                                                       Detectives'
         Association,          the Lieutenants  Benevolent  Association,                                  the Captains      Endowment                      Association,        and the
         Endowment             Association.

                                                                                                               unions'
                        The Unions           have associational                      (1) one or more of every
                                                                                standing         to sue here because       members has
         standing to sue; (2) the interests advanced by vindicating    the rights of the members are sufficiently      germane to the
         Petitioners'                                                                                members'
                       purposes to demonstrate   that Petitioners will appropriately   represent the             interests; and (3) the
         participation  of the individual  members is not required to assert the claim or to afford the Petitioners      complete relief.
         See Westchester                Cnty. Dep't         of Pub.       Safety Police            Benev.      Ass'n,      Inc.     v. Westchester                Cnty.,     35 A.D.3d         592, 594 (2d
         Dep't       2006).




                                                                                                          9 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                   INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 10 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          York          City's              firefighters,                corrections                   officers,                  and         police        officers,              and          confidential                  settlement


          agreements.                   These             Unsubstantiated                         and        Non-Final                     Allegations-unproven                                   allegations                 at best        and


          false     allegations                    at worst-and                     records             relating                to confidential                    settlement              agreements                  will       be "data


          dumped"
                                 on     the        internet,             resulting               in    the      publishing                     and      promotion                  of     information,                  without              any


          concern             that      the        Respondents                   will           destroy              the        reputation               and       privacy,               and      imperil          the        safety,           of



          many          of    those            firefighters               and       officers.                  If     it    is allowed                 to   proceed,               this     public             plastering              of     the


          allegations                will       violate           the      City's          Collective                      Bargaining                  Agreements                  with          the     Petitioners,                violate


          the     United              States         and          New       York            State         Constitutions,                         breach            contractual                  settlement              agreements,

                                                                                          officers'
          and      trample             the         firefighters              and                                    privacy             rights         through             errors          of     law        and     arbitrary               and


          capricious                  decision               making.                  Injunctive                      relief            is     warranted               because                  Petitioners               will          suffer


          irreparable                injury          in     its    absence,               the     balance                  of     equities            strongly            favors          preservation                 of      the      status



          quo,     and        Petitioners                  are     likely        to       succeed              on the             merits          of their          claims.


                          There              can     be      no     dispute               that        release              of     Unsubstantiated                         and       Non-Final                   Allegations                  will



          irreparably                injure         the      Petitioners                  if the       action              is not          enjoined.             The        widely          promoted                release            prizes


          maximum                 transparency                     above            all     other         interests,                  including              the     very          real         risk     that      officers            called


          out     by     name           will        be targeted,                harassed,                 threatened,                        harmed,         or     attacked.               It ignores              the        important



          safety        and      privacy              concerns              implicated                  for         both        the     named           officers           and      their         families,          leaving                them


          with         less      privacy             protection               than          other             licensed                professionals                  in     the         state.          Indeed,           as the            City


          recognized                 just       four        years         ago,        the        public              release            of     unsubstantiated                      allegations                  against          officers


                                                                                                                                  privacy."4
          would          "represent                  an      unreasonable                        invasion                  of                                The          firefighters                 and      officers             will       be



          irreparably                 harmed                if    this       Court              does          not           act       to      preserve              the      status             quo          because             once         the


          Respondents                   dump              the     data      publicly                  on the          internet,               there     is nothing                anyone               can     do to unring                  that




                          4 Hughes             Hubbard            & Reed LLP                v. Civilian               Complaint               Review        Bd.,    53 Misc.            3d 947, 950 (Sup.                   Ct., Kings
          Cnty.    2016).




                                                                                                                                  2



                                                                                                                     10 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                      INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 11 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          bell.


                           Just        last    week,              the     Appellate               Division                of the         Superior             Court           of New             Jersey          temporarily                and



          correctly             enjoined                  that      state's         attorney             general            from          ordering               public           disclosure               of the         identifies           of


          officers            who         have            been        sanctioned                  for     serious            disciplinary                   violations-i.e.,                          officers           with       records


                                  misconduct.5                                                                                change"
          of      proven                                                 Recognizing                     the        "sea                             in     the      attorney              general's                position          on      the


                                                                                                                                                                                                                                  officers'
          confidentiality                      of         police          records,           the          court           applied              "well-settled                      law      to     preserve               the


                                                                                                                                                                                                                                 appeal."6
          challenge               by       staying               implementation                         of     the       Directives               pending                 [its]         disposition              of    the



          Here,        too,         Petitioners                    seek       to    preserve                 the        status          quo,      but       the       requested                  relief        is     comparatively


          modest:              Petitioners                  seek         to preliminarily                      enjoin             the     disclosure                 of                  Unsubstantiated                        and      Non-
                                                                                                                                                                            only


          Final       Allegations.                         With          respect          to these             unproven,                  unfounded,                  and          potentially                false       accusations,

                   officers'
          the                            privacy                 interests          are     at their             zenith           and      the       public's              legitimate                 interest           in    disclosure


          (if     it exists         at all          for     such          allegations)                  is at its          lowest          ebb.


                                                                                                                                                                                                           Respondents'
                           On the merits,                         Petitioners               are     likely              to succeed              on        each     of their              claims.                                           data



          dump         will        destroy            valuable                collectively                   bargained-for                     rights        to have              certain          records            removed             from


         personnel                files.            It will          violate          the      Due           Process              Clause             of    the     U.S.           and       N.Y.           State       Constitutions


         because               it will        cause          serious           reputational                    harm         and         interfere           with          future          employment                   opportunities


         without              adequate               procedures                 for       individuals                   to contest             inclusion              in the            database.              It will         violate        the


          Equal        Protection                    Clause              of   the     U.S.          and        N.Y.          State         Constitutions                      because                it unreasonably                     treats



          firefighters,                  corrections                    officers,           and         police           officers           differently                   than          other        public           employees.                  It


         will       breach          disciplinary                     settlement              agreements,                     which             incorporated                   § 50-a            by    operation                of law       and


         require              continued                   confidentiality.                         And             it    constitutes                 either          an       error         of       law       or      arbitrary            and




                           5 Order         on Motion                at 2, No. A-003950-19T4                                                                                                                                                A to
                                                                                                                          (N.J.      Super.,      App.        Div.        July     8, 2020)          (attached         as Exhibit
         this Memorandum                       of Law).

                           6




                                                                                                                                 3



                                                                                                                        11 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                    INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 12 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          capricious            action           under           CPLR         § 7803(3)                because               it ignores              legally             protected              privacy               interests           and


         breaks          from        long-settled                  agency            practice              and    court           decisions            without               a sound             basis              in reason.


                         Petitioners'
                                                      application               should             be granted,                 including              the      Temporary                      Restraining                    Order         set


          out   in the          accompanying                          Order       to       Show        Cause.                An      immediate                 TRO           is necessary                      to maintain                the


                                                                                            Petitioners'
          status         quo        pending                 resolution               of                                     claims             or    else       there             will        be          no        possibility             of


          meaningful                relief         for        Petitioners.                   Respondents                      have            indicated             they          intend              to       begin         releasing


          disciplinary                records,                  including                 Unsubstantiated                          and            Non-Final                  Allegations,                       beginning                  on



          Wednesday,                 July         15.


                                                                                       FACTUALBACKGROUND

                         The        facts        of      this      case       are         explained              in     detail          in     the    accompanying                            Verified                Petition           (the


                                                                                                                                                                                                                    Respondents'
          "Petition"),               including                  the     disciplinary                  process                and        handling               of        complaints                   and


          announcement                     of their             planned         data         dump           of previously                      confidential                 records.


                                                                                                        ARGUMENT


          I.             The        Court             Should            Grant              a Preliminary                      Injunction                  and        Temporary                        Restraining
                         Order             Enjoining                  Any      Public              Release             of    Unsubstantiated                              and       Non-Final                       Allegations

                         Pending                the      Outcome                of        This       Proceeding.


                         Petitioners                  are       entitled        to        preliminary                 restraints               to    prevent              Respondents                        from        publishing


          the   Unsubstantiated                          and          Non-Final                  Allegations                 on      the       Internet             or     elsewhere                  -        an     act    that        will


                                                  Petitioners'
          irreparably               harm                                      members                   and           cannot            be     undone.                   When            this         matter            is    decided,


          Petitioners              are likely            to succeed             on multiple                  claims            for      relief,       and      the        status         quo       must             be maintained


          in the     interim           to ensure                 meaningful                 relief         can    be        granted.


                         A.                Legal            Standard


                         A     preliminary                   injunction              is appropriate                   when           the party          seeking              injunctive                    relief       establishes:



          (1)   likelihood                 of     ultimate              success             on       the     merits;              (2)        irreparable                 injury          if     the        injunction               is    not



          granted;           and     (3)        a balancing                of the          equities         in its       favor.              Aetna      Ins.        Co.       v. Capasso,                      75 N.Y.2d                 860,




                                                                                                                         4



                                                                                                              12 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                    INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 13 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          862        (1990);            see      also          Yung          Bros.          Real         Estate          Co.,        Inc.      v. Limandri,                       26     Misc.               3d    1203(A),               2009


         N.Y.         Slip      Op.         52653(U),                 *4     (Sup.          Ct.,    N.Y.          Cnty.         Dec.         29,      2009)            (stating          that         CPLR           § 7805          allows


                                                                                          quo"
          the     Court          to     "preserve               the         status                    in    an Article                  78    proceeding                   until         it is resolved);                     CPLR             §§


          6301,        6313(a).                 The        decision             to      grant        a motion              for        a temporary                   restraining                     order         and     preliminary

                                                                                                                                                           court."                                           Lawyers'
          injunction              "is        committed                 to the           sound        discretion                of      the    trial                            N.Y.           Cnty.                               Ass'n          v.



         State,        192       Misc.           2d 424,             428-29             (Sup.       Ct.,    N.Y.          Cnty.          2002);            see also            Terrell              y. Terrell,            279      A.D.2d



          301,        304        (1st          Dep't           2001)           (trial        court          abused             its       discretion               in      failing              to     grant         a preliminary


          injunction             to maintain                    the        status        quo       during          the     pendency                   of    the        action).               This       discretion               includes


         power          to     grant            relief         in     the     form           of     an     injunction                 directing               a government                          entity         to     abide          by    its



          statutory            responsibilities.                             See,        e.g.,       McCain               v.      Koch,             70      N.Y.2d                109,          116-17             (1987).                "The


          existence              of      a factual                  issue      on        a motion             for        a preliminary                        injunction                 is     not,          standing            alone,            a


                                                               denial."
          sufficient            basis           for      its                         Sylmark               Holdings               Ltd.        v. Silicone                Zone          Int'l         Ltd.,        5 Misc.           3d    285,


          295        (Sup.       Ct.,        N.Y.         Cnty.         2004).


                          In     addition,                CPLR              § 7502(c)                authorizes                this         Court          to     issue         "a     preliminary                      injunction               in


          connection                  with        an      arbitration                that         is pending              or     that        is to       be     commenced                       . . . but           only         upon         the


          ground          that        the      award           to which              the        applicant           may           be entitled                 may        be rendered                    ineffectual               without


                                                  relief."
          such        provisional                                      The        purpose             of    an Article                  75    preliminary                     injunction                 is to          "maintain             the


                                                                                                                                                                                                                            applicant."
          status       quo       pending               arbitration               in order            to protect            the        viability            of an award                  in favor              of the


         In     re    Saferstein                 v.      Wendy,             137         Misc.        2d      1032,         1034-35                 (Sup.          Ct.,        N.Y.        Cnty.              1987).          The         same


          three-factor                  test     for       a preliminary                      injunction              outlined                above-likelihood                                 of      success,             irreparable



          injury,         and         balancing                 of     equities-also                       governs               the        issuance              of     a preliminary                         injunction                under


          CPLR          § 7502(c).                    See In          re     Cullman                Ventures,             Inc.,         252        A.D.2d              222,       230-31               (1st       Dep't       1998).




                                                                                                                           5



                                                                                                                  13 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                  INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 14 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                           Petitioners'
                           B.                                             Members                 Will          Be      Irreparably                        Injured             by       the       Public             Release            of
                                           Unsubstantiated                            and       Non-Final                       Allegations,                    Which             Is Imminent                        and
                                           Irreversible.


                           In    establishing                irreparable                injury,          Petitioners                     must         present             facts       establishing                    an injury              for


          which           money           damages             are         insufficient.                  Barbes              Rest.,           Inc.        v. ASRR             Suzer           218,         140        A.D.3d            430,


          432       (1st        Dep't       2016)           (affirming                 showing            where                 "plaintiff's                  restaurant             . . . will            be        closed,          its     19


          employees                will     lose      their       jobs,         and     plaintiff              will         lose       its    substantial                investment                 in improvements");


         FTI       Consulting,               Inc.      v.    PWC           LLP,         8 A.D.3d                145,            146      (1st        Dep't           2004)        (affirming               finding             that         "the


          agreement's                   breach       entailed             irreparable                harm,            the       loss      of goodwill                   not   being           readily           quantifiable");


         see       also      Masjid          Usman,               Inc.      v. Beech              140,         LLC,             68     A.D.3d                 942,      943       (2d      Dep't           2009)            (affirming

                                                                                                                                                                                                                           leasehold"
          determination                    that      "imminent                   threat         of       the         plaintiff's                loss          of     a valuable                long-term


          constitute              irreparable              harm).            Importantly                  here,             "damage                 to     one's         reputation               is often             sufficient              to


                                                                           injury[.]"
         justify           a finding             irreparable                                         Paloger                 v.      Cohen,              37     Misc.         3d      1220(A),              2012            N.Y.            Slip


          Op.      52098(U),               *7       (Sup.          Ct.,      Nassau           Cnty.            2012);              see       also        Klein,          Wagner               &    Morris             v. Lawrence


         A. Klein,              P.C.,      186      A.D.2d               631,     633        (2d      Dep't             1992)            (finding              irreparable               harm          where           defendant's


                                                    plaintiffs'
          actions          "affect         the                               reputation").                     And           once            information                 is public,               it can        never          be made


         private           again.          See,      e.g.,        Gambale               v. Deutsche                     Bank           AG,           377        F.3d       133,         144       (2d      Cir.        2004)          ("We



          simply           do not         have       the     power,             even        were         we      of the            mind          to use            it if we        had,       to make                what      has          thus


         become             public         private           again.");            Bd.       of Educ.                  of Middletown                        Enlarged                 City      Sch.      Dist.          v. Douglas,


         No.       4305/06,               2006       WL           6851993               (Sup.         Ct.,       N.Y.             Cnty.         July           7, 2006)             (disclosure                 of     confidential


          student           information               constitutes                 irreparable                 harm);               Novus            Partners,              Inc.       v.      Vainchenker,                     32     Misc.


          3d       1241(A),               , *5      (Sup.          Ct.,         N.Y.         Cnty.            2011)               ("The          likely              inevitability                of    even            inadvertent


          disclosure              is sufficient              to establish               a real        risk       of irreparable                       harm.")             (brackets,              citation,            and      internal


          quotation              marks          omitted).                 The     law        is clear            that           "[p]ublic                disclosure            of       what        is now             confidential


          and      should           remain           confidential                 would            lead         to      an        irreversible                 breach          of     that        confidentiality.                          The




                                                                                                                            6



                                                                                                               14 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                               INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 15 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          harms           which         would              naturally               flow          from          disclosure                 could        not         be    redressed              nor        could       the      parties


                                                                                          ante."
          ever      be returned                to the            status           quo                         Doe        v. Greco,               62 A.D.2d                498,         501     (3d     Dep't          1978).


                           Petitioners'
                                                          irreparable               injury            may          be    mere            hours         away.            Immediate               judicial             intervention


                                                                                                                                                              Petitioners'
          is necessary                 to maintain                    the     status           quo         pending           resolution                of                                 claims           or else       there         will


          be no          possibility             of       meaningful                    relief        for      Petitioners.                 Respondents                        have       indicated            they       intend             to


          begin           releasing                 disciplinary                   records,                  including              Unsubstantiated                            and        Non-Final                  Allegations,



         beginning                 on     Wednesday,                         July         15.              (Petition            ]F 50.)            Today,               the      injury         from          the       release              of


                                                                                                                                                               imminent."
         Unsubstantiated                       and         Non-Final                Allegations                     is "threatened                 and                                       Held      v. Hall,         190         Misc.


          2d      444,      457        (Sup.          Ct.,       Westchester                     Cnty.         2002)            (citation          omitted).                   Tomorrow,               the     injury           may         be


          swift      and         irreversible.


                           The       data           to     be         released            include              unsubstantiated                         accusations                   related          to     serious            crimes.


          These          allegations                 may          be      false,        yet      Respondents                      intend          to        include            them       without            regard          for      their


         veracity.               Respondents                      have        signated                no      intention             of    making              individual               determinations                    regarding


          the     legitimate             privacy               and       safety          concerns               of officers.                Once            officers           are     identified            in this      database


          and       associated              with               this       conduct,               their         injuries             can      neither               be     quantified                nor       remedied                with


          damages.                Indeed,                in the        absence            of     emergency                   relief,        no     remedy               will      be    adequate.              See Bursac                     v.



         Suozzi,           22 Misc.             3d 328,                340     (Sup.           Ct.,        Nassau           Cnty.         2008)         (stating           that        county         executive's                  public



         posting            of    identifying                    information                   about           DWI          arrestees             "on         an    Internet            Web          site     with       unlimited


                                        public"
          access          to the                               could         "affect           a legal             status        and       impose             specific           harm          by     being         available            to,


          inter      alia,         search                engines,            credit            agencies,                 landlords               and         potential               employers,               for      a lifetime,


         regardless               of the        underlying                    outcome                 of     the       case")       (emphasis                  added).


                           Release             of        the      data       not        only          will         irreparably              injure            important                reputational,                 liberty,          and



         privacy            interests               of     the        officers,          but         also       will        destroy          valuable               collectively                bargained-for                      rights.




                                                                                                                             7



                                                                                                                    15 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                         INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 16 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




         Nearly           all      the        CBAs         give         each          individual             officer             the     contractual                   right         to have               investigative                  reports


                                                      "exonerated"                                       "unfounded"
          that      are      classified                                                   and/or                                          removed                   from        his      or her             personnel                file.          For



          example,                section           7(c)        of Article                XV       of the        Sergeants                Benevolent                      Association                      CBA          requires:              "The


          Department                     will         upon            written             request         to        the     Chief             of     Personnel                   by       the         individual                   employee,


          remove                 from           the        Personnel                      Folder          investigative                       reports                 which,             upon               completion                    of        the


                                                                                'exonerated'                                      'unfounded.'"
          investigation                       are     classified                                               and/or                                                         (SBA         CBA,                 Art.         XV,         § 7(c)).

                                                                                                                                                           Petitioners'
          Except            for         the       DEA,          the       other           police         and        the      correction                                                   CBAs               have            substantively

                                 provisions.7
          identical                                              If    these          personnel              records              are     released                 publicly,             then           this       contractual                 right


                                                                                                                                       "exonerated"                             "unfounded"
          will      be nullified.                     No     officer            would           be able             to have                                               or                                       reports           removed


          from        the       file,      even        though             the     City         is contractually                        obligated                to remove                such          reports            upon           request.


                            As     another             example,                 the       CBAs         have         provisions                 that           allow        employees                    to seek           expungement


          of     records            of        disciplinary                cases            where         "disposition                    of        the        charge           at trial          or        on      review           or       appeal


                                                                  'guilty.'"
          therefrom                is other           than                                   (SBA         CBA,            Art.     XV,             § 8; PBA                CBA,           Art.        XVI,             § 8; LBA              CBA,


          Article           XVI,          § 8;        COBA              CBA           Art.      XVI,         § 11;         DOC            Directive                   4257R-A,                  VI(6)           and      X,        a violation


          of     which            may          be     grieved;            see         also      UFOA                CBA,          Art.         XVII,               § 9; UFA               CBA,              Art.        XVII,            § 9.)         It


          will      likewise                  be    impossible                   for        officers           to    exercise                 this        contractual                   right         if     all       the     records              are


          released               publicly.                   Without                  a      preliminary                  injunction                     to        prevent            release                of        the      records              of


                                                                                                                                                                                                                                      officers'
         Unsubstantiated                            and    Non-Final                      Allegations,               the     City         will           inflict         irreparable                  injury           on the


                                                                                                                                                                                            officers'
          contractual                   rights.           The         planned              release        also        would             irreparably                   harm        the                                  broader           right        to


          engage            in     collective                bargaining                     over       the     terms             and      conditions                     of     their       employment.                             See        In    re




                            7
                                see LBA             CBA,        Art.     XVI,         § 7(c);       CEA      CBA,          Art.    XIV,          § 6(c);           PBA        CBA,       Art.     XVI,           § 7(c);       COBA            CBA,
         Art.     XVI,          § 11.


                            The COBA                 CBA        also states: "The                  past disciplinary                   or work           record        of an employee           may not be revealed
         during       a Section               75, Civil Service              Law,            disciplinary           proceeding             until         a determination                 as to guilt or innocence of the
                                               determined."
         member           has been                                         COBA              CBA,     Art.      XVI,     § 12. In addition,                         a violation           of DOC                Directive          4257R-A,
         VI(6)       may be grieved.



                                                                                                                             8



                                                                                                                    16 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                       INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 17 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          Cohoes           City         Sch.          Dist.           v Cohoes                   Teachers              Ass'n,             40     N.Y.2d            774,       778         (1976)             (emphasizing                       the



          "strong         and          sweeping               policy             of the           State        to support                 collective             bargaining                   under         the      Taylor           Law").


                                                                                                                                                                                                         officers'
                          Finally,            the      City's            release            of the         records              would           render          meaningless                   the                            contractual


          right      to arbitrate                grievances                    that     have             been       or are            about           to be filed            under            the     CBAs             to prevent               the


          release         of the         records.                (SBA            CBA,             Article          XX;           PBA           CBA,         Article          XXI;         LBA             CBA,          Article           XXI;


          CEA         CBA,             Article           XVIII;                COBA               UFA,            Article              XXI;           UFA        CBA,          Article              XVIII;             UFOA             CBA,


         Article          XVIII;           see         also         Ex.        1 (grievances                     filed          by     the      PBA,          SBA,          LBA,          CEA             and        COBA            on      July


          13,      2020).)              This           irreparable                    harm           also         supports                the      issuance             of     a preliminary                         injunction                 "in


                                                                                                                                                              commenced"
          connection               with          an arbitration                      that        is pending                   or that         is to be                                         because               any      arbitration


                                                                                                                                                                 relief."
          award          "may          be rendered                     ineffectual                 without               such         provisional                                   CPLR              § 7502(c).


                          C.               The          Balance                 of     the        Equities               Favors                Petitioners             Because                 an        Injunction                 Merely
                                           Preserves                     the      Status             Quo          and          Will       Not    Prejudice        Respondents,                                       Whereas              a
                                                                                                                                      Petitioners'
                                           Denial                of     Relief         May              Extinguish                                        Rights.


                          The          balance              of        equities              in     this        case           militates            strongly            in     favor            of     granting               emergency


          injunctive              relief         to     preserve                 the        status          quo.              The       risk      of     irreparable                harm            to     Petitioners                is both


          serious          and         imminent,                  while           Respondents                          will          suffer       no     hardship             or        prejudice               by      delaying                the


         release          of their          databases                   while          the        Court          considers                this        matter.


                          "The         balancing                  of the         equities                requires             the      court       to determine                the        relative            prejudice               to each


                                                                                                                                                   relief."
         party          accruing            from            a grant             or     denial             of     the      requested                                   Barbes,              140           A.D.3d            at 432.            Put



          differently,             the        inquiry             is "whether                     the       irreparable                  injury         to be       sustained                 is more             burdensome                    [to


                                                                                                                                                                                                    injunction."
          the     plaintiff]            than          the        harm          caused              to     defendant                   through            imposition                of     the                                        Felix        v.


         Brand           Serv.         Grp.       LLC,              101        A.D.3d              1724,          1726           (4th         Dep't       2012)         (alterations                  in original)                  (internal


          quotation             marks            omitted).                 When              an injunction                      would            simply          preserve               the     status          quo,         this     weighs


          in    favor      of      granting              the          relief      requested.                     See AIU                Ins.      Co.       v. Robert           Plan            Corp.,            44     A.D.3d              355,


          356      (1st        Dep't       2007)              ("A         balancing                 of     the     equities,               as well            as the        need         to preserve                   the     status         quo




                                                                                                                                 9



                                                                                                                       17 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                        INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 18 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          between           the     parties,             further         warrants              the         relief        granted              by      the     court");               Melvin               v.     Union         Coll.,           195


          A.D.2d            447,           448-49               (2d       Dep't              1993)                (granting                  preliminary                        injunctive                     relief         precluding


          enforcement                 of     suspension                 where           college                 had      "not         shown            that         it will           suffer            any         harm       as a result



          [thereof]          ... during              the    pendency              of this             matter").



                          Here,       the      equities            weigh         heavily               in favor             of the           requested                preliminary                       relief.         If the       motion


                              Petitioners'
          is denied,                                        members              face         the      prospect                 of        immediate                 and        permanent                   reputational                   harm,


          loss     of privacy,               and         even      threats        to their             safety.              Any            future       victory            removing                     the         Unsubstantiated


          and      Non-Final                Allegations                 from          the     databases                    would             be     hollow.                The            moment                these         allegations


          become           publicly            available,               the     data        will       cease            to be confidential,                           and           the     entire             world        will     be able


          to     access      and       download                   or duplicate                it.      News              organizations                      will       move               quickly              to     gather        the        data


                                                                   databases.8
          and      fold     it into         their        own                                   In      other            words,             "denial           of      injunctive                  relief         would          render            the


                                            ineffectual."
          final     judgment                                             New          York          v. City             of New             York,       275          A.D.2d                740,      741           (2d      Dep't        2000).


                                                                                                                                                                                                     officers'
                          Likewise,                 as     explained             in     the         irreparable                   harm              section           above,                the                               contractual


                                               "exonerated"                                    "unfounded"
          rights      to remove                                                and/or                                                investigative                   reports               from         their         personnel                files


          and      seek     expungement                      of    certain         case            files         cannot         be restored                   once         those            records              are released.                   No


                                             equities             outweigh               the         unfairness                      of                                   of        this                                   collectively-
          countervailing                                                                                                                     destroying                                          valuable,


         bargained-for                     right.          The          same       is       true           of     the      CBA              right       to         arbitrate                grievances                  based         on         the


          contractual              right        to       have       these        reports              removed                   from          their         files.             If    ever         ruled             permissible,                 the


         reports          can       be       released              at    a later            time.                 But       once            disseminated                        publicly,                 they          can        never          be


          "removed"
                                  in any            meaningful                 sense.          The              equities         therefore              strongly                    favor         the     preservation                    of     the




                          8 John
                                     Kelly          & Mark       Nichols,   We found 85,000 cops who've been investigated        for                                                                misconduct.                Now you
          can read        their
                            records,                  USA               (June 11, 2020), available at https://www.usatoday.com/in-
                                                                Today
          depth/news/investigations/2019/04/24/usa-today-revealing-misconduct-records-police-cops/3223984002/
          (describing        USA           Today's         database           of police        misconduct                  records          pulled      from         various           sources).




                                                                                                                           10



                                                                                                                  18 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                              INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 19 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          officers'
                                existing              contractual               rights,         including                 the     right          to arbitrate                      grievances                  such      that        any        award


          will      not     be rendered                     ineffectual.                  See    CPLR                § 7502(c).


                           If     the     motion               is granted,             no       party         would               suffer           prejudice                       or    hardship.                   Rather,           enjoining


          Respondents                        will       simply             preserve              the         status             quo.             Under                  these            circumstances,                         a    temporary


          restraining                 order           and      preliminary                 injunction                 "should               be      granted                   to        maintain              the      status         quo       while


                                                                                                                                                             manner."
          the      legal        issues          are     determined                  in a deliberate                       and     judicious                                                Merscorp,                   Inc.      v. Romaine,


          295       A.D.2d              431,        434        (2d     Dep't          2002).


                           D.                   Petitioners                Are        Likely            to      Succeed                on        Multiple                     Claims              for        Relief.

                                                Petitioners'
                           Finally,                                         claims             are     likely         to        succeed             on       the         merits.                 In     establishing                  likelihood


          of      success          on the             merits,         a "prima             facie        showing                 of reasonable                           probability                    of    success            is sufficient;


                                                                                                                                                                                                            merits."
          actual          proof         of      the     petitioner's                claims            should              be left         to     a full        hearing                    on the                                Barbes,             140


                                                                                                                                                                                                                       conclusive."
          A.D.3d            at 431            (internal           quotation               marks          omitted).                   But         this     showing                       "need          not     be                                    Id.


          And        "[w]here,                 as here,          the       denial         of    injunctive                  relief         would              render                the        final        judgment                ineffectual,


          the      degree           of proof             required            to establish                the         element               of     likelihood                       of     success             on the          merits         should


                  reduced."
         be                                  New         York         v. City         of New            York,             275      A.D.2d                at 741               (2d         Dep't             2000);        Developments


          in the       Law,           Injunctions,                    78 Harv.            L.    Rev.          994,          1056          (1965)             ("Clear                    evidence              of     irreparable                injury


          should           result        in a less              stringent           requirement                      of    certainty               of victory....").


                                                                Respondents'
                                               1.                                                    Release              Would                 Interfere                 with            Collective                  Bargaining
                                                                Rights.


                           Petitioners                   are      likely         to       succeed               on        their        claims                for         interference                       with        their         collective



         bargaining                   rights,          both      in this          Court         and         in the          arbitration                 of     individual                       grievances                that        have        been


          filed       or        are      about           to      be     filed         under           the       CBAs.                  Because                     it    is        a term              and         condition               of     their



          employment,                        the      officers          have          a right          to     collectively                      bargain                 over             the     confidential                   treatment                of


          their       personnel                 files       under          the      Taylor            Law.            See         CSL            § 203             (guaranteeing                            public        employees                 the




                                                                                                                             11



                                                                                                                 19 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                        INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 20 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          right         "to     negotiate                   collectively                with        their         public        employers                    in       the      determination                    of     their       terms             and


          conditions                 of    employment,                         and      the     administration                      of        grievances               arising          thereunder");                   CSL           § 201(4)


          (recursively                    defining                "terms          and        conditions             of employment").



                              Moreover,                     the     CBAs               contain            express             provisions                     governing                  precisely               this       topic.               Most



          notably,             nearly            all    the        CBAs           give        each        individual                officer            the       contractual                 right       to have           investigative


                                                                               "exonerated"                                    "unfounded"
          reports             that        are     classified                                                     and/or                                               removed                from        his      or    her        personnel


          file.         For          example,                 section             7(c)         of   Article             XV          of        the      Sergeants                 Benevolent                     Association                     CBA


          requires:             "The             Department                     will         upon      written              request              to    the        Chief         of     Personnel                 by     the        individual



          employee,                  remove                 from         the     Personnel                Folder            investigative                    reports            which,            upon          completion                     of the


                                                                                'exonerated'                                   'unfounded.'"
          investigation                     are        classified                                            and/or                                                     (SBA           CBA,            Art.      XV,           § 7(c);           PBA


          CBA           XVI,           § 7(c);          LBA             CBA          Art.      XVI,         §7(c);           CEA              CBA         Art.        XIV,        § 6(c);             COBA             CBA         Art.         XVI,


          §       11,    DOC              Directive                 4257R-A,                   VI(6)         and        X,      a violation                      of     which               may        be      grieved.)                 If     these


         personnel                   records                are    released              publicly,               then        this        contractual                   right         will        be     nullified.                 No         officer


                                                                                     "exonerated"                            "unfounded"
          ever          would             be      able        to        have                                         or                                           reports            removed                  from       the       file,         even


          though              the      City       is contractually                           obligated             to remove                    such       reports             upon          request.             The          only           way       to


                                                                                                            officers'                                                                                            CBAs'
         preserve               this       contractual                   right-and                  the                             ability           to enforce                it through               the                       grievance


                                                                                                                                                                                                                                        officers'
         process-is                       to enjoin               the    City's          blunderbuss                  release             of the          records.              The         same        is true        of the


          contractual                  right           to    seek          expungement                      of     records               of     disciplinary                   cases         where             "disposition                    of    the


                                                                                                                                                                   'guilty.'"
          charge          at trial             or on review                     or appeal              therefrom               is other               than                                   (SBA            CBA,        Art.         XV,           § 8;


          PBA           CBA,              Art.         XVI,             § 8;      LBA           CBA,              Article            XVI,             § 8;        COBA               CBA              Art.      XVI,           §      11,       DOC


          Directive                 4257R-A,                  VI(6)            and      X,     a violation                of which                  may      be grieved;                    see       also      UFOA               CBA,             Art.



          XVII,          § 9; UFA                  CBA,             Art.        XVII,          § 9.)        Petitioners                   are       therefore               likely          to    succeed             on this           claim.




                                                                                                                               12



                                                                                                                     20 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                         INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 21 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                               2.                Publication                   of    Unsubstantiated                            and         Non-Final                      Allegations                   Would
                                                                                     Petitioners'           Members'
                                                                 Violate                                                                      Constitutional                           Rights            to       Due        Process             of

                                                                 Law          Under            the     Federal                and      New          York                State        Constitutions.


                                                                               Respondents'
                          As          discussed                above,                                             release           threatens               serious             reputational                     harm         to      officers


          from       the     worldwide                      publication                 of     allegations               that        are,     by     definition,                  mere             accusations                 that      either


         were        not         supported                 by      evidence                or have           not     been           finalized             through                an     adjudicatory                     process.             By

                                                                                                                                                                                                   officers'
         promoting                    and      publicizing                   these       allegations,               Respondents                     threaten               not         only                              good          names,


          but      also      tangibly                damage                 their      future          employment                     opportunities.                            This        deprivation                     triggers         due


         process           protections                    for      the       identified             officers,           each         of whom                has         a constitutional                         right       to notice            of


          their     inclusion                  in the         database               and     an opportunity                        to contest              it.


                           Both         the         United            States         and       New         York          State        Constitutions                       provide                that       no     person            shall       be


          deprived               of    life,        liberty,          or property                   without          due          process           of      law.          U.S.          Const.           amend.               XIV;         N.Y.


                                                                                                                  "stigma-plus"
          Const.          Art.         1, § 6.            A     plaintiff            may       bring         a                                      claim           under            the      Due        Process              Clauses             of


          the     Federal              or      New            York          State       Constitution                    to     seek         redress              "for      injury             to    one's           reputation               (the


                                                                                                                                                         interest'
          stigma)           coupled                  with         the        deprivation                of       some             'tangible                                     or      property                 right        (the       plus),

                                                      process."
         without            adequate                                                DiBlasio            v.       Novello,             344       F.3d             292,          302         (2d       Cir.         2003);           see       also


                                                                                                                                        "stigma"
         Swinton            v. Safir,               93 N.Y.2d                 758,         763-64          (1999).             The                                prong           is met           when           the       government


                                                                                                                                                                           integrity"
          calls     into         question             the       plaintiff's             "good          name,         reputation,                   honor,           or                               in a defamatory                        way.


         Bd.      of Regents                   of State           Colls.            v. Roth,         408      U.S.           564,     573       (1972);                 Knox          v. N.Y.           City       Dep't           of Educ.,

                                                                                                                                       "stigma"
          85      A.D.3d              439,          440        (1st      Dep't          2011)          (stating              that                                prong           requires               "defamation                    by     the


                                                            "plus"
          government").                         The                          component                 is satisfied                 when        there            is a deprivation                       of     a liberty             interest,



          including              when           the       plaintiff            shows           "a    likelihood               of     dissemination                        of the        stigmatizing                      material           that


                                                                                                                                                employment"
          could       significantly                     impair              [the     plaintiff's]             ability          to gain                                                in a chosen                  field.          Knox,         85


         A.D.3d            at 440.




                                                                                                                             13



                                                                                                                   21 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                     INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 22 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                          When             assessing              a stigma-plus                     claim,            the      Court                  also      examines              whether              the        plaintiff            was


          afforded           adequate              process          to address               the         deprivation                 - that                                          an opportunity
                                                                                                                                                        is, notice          and                                           to be heard


                                                                                                              manner."
          "at     a meaningful                    time     and       in a meaningful                                                  Goldberg                    v. Kelly,            397      U.S.           254,      267         (1970)


          (internal          quotation                  marks        omitted).                "Generally,                     due         process                requires          that        a state           afford           persons


                                                                                                                                                                            interest."
          some        kind        of hearing             prior       to depriving                   them          of a liberty                   or property                                        DiBlasio              v. Novello,


          344      F.3d          292,      302      (2d     Cir.      2003)            (emphasis                  added)            (internal                  quotation           marks            omitted);                Lee       TT.     v.



         Dowling,                 87      N.Y.2d           699,           713      (1996)                (stating            that         "it         makes            obvious              sense         in     most           cases         to


                                                                                                              deprivations'
          'minimize                substantially                 unfair          or mistaken                                                      by         insisting        that      the     hearing               be granted               at


          a time           when            the      deprivation                  can       still         be      prevented                      ...     The        damage              to     the        subject              following


         publication                of     an unsubstantiated                          report           of    child         abuse           may              be irreversible.").                     With            a stigma-plus



          claim,          "the      constitutional                  harm           is not          the       defamation                   itself;             rather        it is the         denial            of     a hearing              ...


                                                                                                         charge."
          [and]       an opportunity                     to refute           the     public                                   Sciolino                   v. City         of Newport                 News,             Va.,      480        F.3d



          642,      649      (4th         Cir.     2007)          (quotation               omitted).


                                                                                                                                                                   Respondents'
                          Here,             the          stigma             element                 is          satisfied                 because                                                        dissemination                        of


         Unsubstantiated                          and     Non-Final                Allegations                    will       cause              serious            reputational                harm.             The          databases


          at     issue       will         include           accusations                  that        may            be       false          or         not       supported               by      evidence                 as        well      as


          allegations               that         have      not       been          through                the      adjudicatory                         process.                There          can       be      no       reasonable


                                        Respondents'
          dispute          that                                       worldwide                    transmission                      of         such          accusations,                  including                those        that       are


                                                                                                                                                                                       opprobrium'
          simply          false,         will      stigmatize              the     identified                 officers          and         result             in "'public                                             and        damage


                                 reputation[s]."
          to    [their]                                            Valmonte               v. Bane,                18 F.3d             992,             999       (2d     Cir.        1994);          see       also          U.S.     Dep't



          of    Justice            v.    Reporters                Comm.,            489            U.S.         749,         764          (1989)                ("Plainly            there          is    a vast             difference


         between             the        public          records           that     might           be        found          after         a diligent               search         of        courthouse                 files,        county


          archives,              and      local     police          stations           throughout                    the      country                  and      a computerized                       summary                  located         in




                                                                                                                         14



                                                                                                                22 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                              INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 23 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          a single          clearinghouse                of      information.").


                           Respondents'
                                                         proposed                    release               of         Unsubstantiated                     and          Non-Final                   Allegations                       also


          deprives           the     identified           individuals                   of     a protected                     liberty       interest.          For          some,         this      will        be         a loss        of


          employment.                    Patterson                 v.        City       of         Utica,             370         F.3d       322,        330         (2d       Cir.        2004).                For          others,

          Respondents'
                                       actions          will           interfere             with          their         future           employment                  opportunities                     by      "plac[ing]                  a


                                                                                                      prospects."
          tangible          burden           on     [their]        employment                                                         Valmonte,            18 F.3d             at     1001          (stating               that     "the


          dissemination                of    information                     from       the        Central              Register            to potential             child       care        employers,                     coupled


         with        the     defamatory               nature            of     inclusion                  on     the      list,      does      implicate              a liberty             interest");                Brandt             v.


         Bd.      of    Coop.        Educ.          Servs.,          820        F.2d         41,      44        (2d     Cir.        1987)      (stating         that         if plaintiff               "is     able        to     show


          that    prospective               employers                are likely               to gain            access            to his     personnel              file     and      decide            not     to hire           him,


          then       the    presence           of the         charges               in his         file     has        a damaging               effect         on his         future        job         opportunities");


         People            v. David          W.,     95 N.Y.2d                   130,        137-38              (2000)            ("This       Court          has     held         that     the        mere          likelihood


          of     dissemination                 to     prospective                     employers                    of        allegations            of    rape          and         abuse          in         a fired            public


          employee's                personnel             file         sufficiently                  impaired                 that        employee's             liberty             interest            to     warrant              due


                           protections."
         process                                       (citing           Swinton,              93 N.Y.2d                      at 764)).


                                                                                                                                                                                                                             Shame"
                           Bursac           v. Suozzi          is instructive.                       In that           case,        a county         executive                created         a "Wall                 of


          website          that     included          photographs                       and        identifying                 information               of individuals                    arrested             for        DWI       and


          DUI        offenses,          including              the       plaintiff.                22      Misc.             3d    328,      340     (Sup.           Ct.,     Nassau              Cnty.          2008).              The


         plaintiff          claimed          the     county             executive              violated                 her       right     to due       process             under         the     Federal                 and     New


          York         State       Constitutions                 "by        posting           her         name          and        arrest     photograph                    on the         county             Web           site   with


                                                                                                                                                                                            crime[.]"
          other        DWI         arrestees         without             a hearing                 and      before             she has        been       convicted               of    a                              Id.     at 335.


          The     court        recognized             that       the        plaintiff          had         no opportunity                     to prevent             this     invasion              of privacy                   before


          the     information               was                         -     and                                        -     disseminated.                   The                          executive's                     decision
                                                     widely                             permanently                                                                         county




                                                                                                                         15



                                                                                                                23 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                         INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 24 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          to "voluntarily                     promote[]                 and        publish[]                  arrest        records,            containing                    names,             pictures              and       identifying


          information,                 on an Internet                       Web          site     with         unlimited                access            to the        public            ...    may          affect          a legal         status


                                                         harm"
          and    impose              specific                               on the          plaintiff            because               "search              engines,             credit              agencies,            landlords                and


                               employers"
         potential                                              could             access              that       content               "for         a     lifetime,             regardless                     of      the       underlying

                                              case."                                                                                                                                      plus"
          outcome             of the                            Id.     at 340-41.                      The     court         concluded                   that        "stigma                              was       present,            holding

                             "dissemination"
          that       the                                               of      stigmatizing                     information                    about          the       plaintiff               in     a way           that       "results           in


                                                                                                                                                                                                           'plus'
          limitless           and          eternal         notoriety,                  without                any         controls,            is       sufficient             to     be        the                      in     the      'stigma


         plus'                                      analysis[.]"
                      due      process                                             Id.       at 342.


                                                                                                                                                                         Respondents'
                           This       case          is Bursac,                 writ         large.            The         unlimited              reach           of                                           databases,                coupled


          with       publicity              from         the        Mayor             and       the      largest           police         department                     in the         nation,              is likely           to interfere


                      Petitioners'                 members'
          with                                                               efforts            to      secure            employment                     with         other         law         enforcement                     agencies            or


                                                                                                                                                                                Respondents'
          in the       private             sector.         These             potential                employers                  are    likely           to review                                                     databases              when



          considering                 an      application                   for       employment                       by     a former                  firefighter,                corrections                     officer,           or police


          officer.           The        information                    they        find          will        be no          less       defamatory                     and      stigmatizing                      for     many            officers


                                                          Shame"
          than        the      "Wall               of                             was           for      the         plaintiff            in        Bursac.                   The         sample               data           provided              by


          Respondents                      identifies               officers          by     name              and        associates                them         with         serious            allegations                   that     may        not


         have         been        fully,          or even           partially,              investigated.                    These            bare        allegations                 lack           any     context            whatsoever


          and    are        often          worded              in     an inflammatory                            way,         such        as "engag[ing]                         in       a road            rage       incident            with          a


                            motorist."
          civilian                                      Others           merely             cast        aspersions                 on the           integrity             of an officer,                     such       as "knowingly



          associat[ing]                    with         a person             reasonably                      believed             to    be     engaged                  in,    likely           to     engage             in,     or     to    have


                                                           activities."                                                                                                                         impair[]"
          engaged             in     criminal                                                   This          dissemination                      will        "sufficiently                                               the          identified


          officers'
                              liberty             interests            to warrant                 due         process            protections.                    David              W.,     95 N.Y.2d                   at 137-38.



                           Having             triggered                the        requirements                       of     due        process,              Respondents                        must           establish               adequate




                                                                                                                              16



                                                                                                                      24 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                               INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 25 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                          safeguards"
          "procedural                                               to prevent                  this          deprivation.                  Valmonte,                18 F.3d          at     1002-03.                   They         have


          not     done         so.        Respondents                 have         left       no doubt                that,        once     fully      operational,                 the    databases               will        include


          the     full     panoply              of     charges            levied          against               officers,            regardless           of        outcome           or veracity.                  There            is no


         process              by     which           officers           will      be      able           to    contest             the    inclusion            of    allegations,                including                those       that


         were            found        to     be      unsubstantiated,                         unfounded,                      or    exonerated               in      the      investigation                phase            and       that


         will      be      posted            without             having           gone              through            a hearing.                Any        process            must        be        individualized                   and


         provide              officers          with        a mechanism                       for        challenging                the    inclusion              of Unsubstantiated                         and        Non-Final


         Allegations                  before           they       are     published,                     at which             point        the      damage            would         be done.              See Bursac,                    22


          Misc.          3d      at 342         (holding            that        government's                       publishing                of booking                   photos          and        names         of     DWI         and


          DUI        arrestees               on      public           website,                "which             results            in    limitless          and          eternal         notoriety,              without             any


          controls,            is sufficient                 to be the            'plus'").



                           Moreover,                 the      release           of records                    of past         Unsubstantiated                       and    Non-Final                 Allegations                 would



          doubly           violate            due      process            because,                  in     deciding                how     to respond                to    allegations,                officers            relied        on


          the     City's           guarantee              that     such         allegations                    would          remain           confidential.                  The     U.S.           Supreme              Court       has


          cautioned                that     applying              new          laws       to past             conduct              may      have       an impermissibly                         retroactive                effect        by


          upsetting                reliance           interests            and         triggering                 fundamental                    fairness            concerns.               See       Landgraf                 v.    USI


         Film        Prods.,              511      U.S.       244        (1994).              New             York's           Due        Process        Clause             requires             a similar              analysis         to


          determine                whether             the       application                  of new            laws          to pre-enactment                       conduct          is permissible.                       See Am.



         Economy                   Ins.      Co.       v.     State        of     New           York,            30     N.Y.3d              136,       149          (2017).           "Retroactive                      legislation


                                                                                                                                                                                                                  legislation."
         presents             problems               of unfairness                     that     are more                serious           than      those         posed        by     prospective


          Gen.       Motors                Corp.        v. Romein,                 503         U.S.            181,      191         (1992).           Accordingly,                   a sufficient                justification


          for     the         prospective                   application                 of      a new              enactment                 may        not         be      enough              to     allow          retroactive


          application                of that          same         new          law.          See Pension                     Benefit          Guar.        Corp.           v. R.A.        Gray          &     Co.,        467       U.S.




                                                                                                                              17



                                                                                                                   25 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                             INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 26 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          717,        730     (1984).


                         A     statute           has        retroactive                effect        if "it      would            impair        rights            a party          possessed            when             he acted,


          increase            a party's               liability            for        past      conduct,               or    impose            new           duties        with       respect            to       transactions


                             completed,"                                                        "substantive"
          already                                           thus         affecting                                                rights.          Landgraf,                511       U.S.        at    278-80.                 Here,


          application               of the       repeal            of     § 50-a         to past         Unsubstantiated                       and         Non-Final               Allegations                would           impair


          officers'
                              rights          in the        confidential                    treatment            of     such        allegations               that       they       possessed                at the        time     the


          allegations               were        made.              Such          application               of    § 50-a            thus      has      retroactive                effect.


                            The        next          question              is       whether             this      retroactive                 effect           is     permissible.                     The           retroactive


          application               of     new            enactments                  passes         due        process            muster            only       when           supported               by      "a     legitimate


                                                                                                         means."
          legislative             purpose                 furthered              by     rational                                  Romein,             503       U.S.        at     191.         The         City's          planned


         release            of past        Unsubstantiated                            and    Non-Final                 Allegations                 fails      this     test.       If the       officers             had      known


          that     the       City         would             make          Unsubstantiated                         and        Non-Final                    Allegations               public,           they          might         have


          defended             themselves                    against            the     allegations               in        a more                                  more                        and     more           resource-
                                                                                                                                            vigorous,                            vocal,


          intensive            fashion           to protect                their        reputations,                  and        hence       their         future        liberty          and    property                interests.



          Releasing               records            of Unsubstantiated                            and     Non-Final                 Allegations                  that     pre-date             the    repeal            of   § 50-a

                                                                        officers'
          therefore           would             upset        the                             reliance           on the           City's       guarantee               to protect            their       reputations                 and



         privacy             from         the     harms            associated                 with       public             disclosure               of     such       allegations.                   Destroying                  these


         reliance             interests              is     not       a rational                means            of     advancing                  any        legitimate              purpose                of      the      repeal.


         Application                 of the          repeal        of § 50-a                to existing           records            thus      would           have         an impermissible                         retroactive


                                         officers'
          effect       on the                                liberty            and      property              interests           in violation                of the       Due        Process              Clauses.


                            Because              Respondents                          have       not       offered               adequate                 procedural               protections,                   they        are       in


          violation           of the          Due          Process           Clauses             of the         Federal             and      New           York        State        constitutions.




                                                                                                                            18



                                                                                                                26 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                           INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 27 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                        3.                 Publication                of     Unsubstantiated                           and         Non-Final                  Allegations                    Would
                                                                             Petitioners'           Members'
                                                           Violate                                                                    Constitutional                         Rights           to     Equal

                                                           Protection                of    Law        Under              the      Federal              and        New           York          State

                                                           Constitutions.


                        The       decision            to release             Unsubstantiated                        and        Non-Final               Allegations                 also        violates              the      Equal


          Protection             Clause          of        the     United         States             and      New          York          Constitutions.                         New           York           State          "equal


         protection           guarantees                   are    coextensive                with       the       rights        protected              under           the      Federal            Equal            Protection


          Clause,"
                          Myers              v. Schneiderman,                        30 N.Y.3d                1, 13,           85 N.E.3d                  57,     62     (2017),          which              requires              that


                                                                                                                                                                                                              laws."
         no    state      shall       "deny           to     any      person          within          its jurisdiction                    the       equal           protection                of     the                       U.S.


          Const.       amend.            XIV,         § 1.         "This        is essentially                a direction               that        all    persons              similarly             situated              should


                              alike."
         be    treated                           Shuman              ex rel.         Shertzer              v. Penn         Manor              Sch.         Dist.,        422       F.3d            141,       151      (3d         Cir.


          2005).         Thus,       to      establish             an equal           protection              claim,            the     plaintiffs               must        show         that        firefighters                 and


          officers        have          "received                different            treatment               from             that     received                 by      other         individuals                    similarly

          situated."
                              Id.     (emphasis                  omitted).


                        "As       a general            rule,        the      equal         protection              guarantee              of the           Constitution                 is satisfied                 when           the


          government                differentiates                   between              persons           for      a reason               that       bears           a rational              relationship                   to     an


                                                                   interest."
          appropriate             governmental                                             Able       v. United            States,           155          F.3d        628,       631      (2d        Cir.      1998).              The


          defendants              here          cannot            meet        even           that       deferential                   standard.                  As       the      petition                 explains,               the


          defendants              have          singled              out      firefighters,                 police             and       correctional                     officers             for          disclosure                of


         unfounded                disciplinary                   records,            but       have           not        done          so        for       the         myriad            other              state-licensed


         professionals.                          See              Office             of        the          Professions,                         New              York               State,                available                  at


         http://www.op.nysed.gov/home.html                                                   (last      accessed                                                                       that        the       list     of      state-
                                                                                                                                July        5,     2020)              (noting


          licensed        professionals                    who       have        unsubstantiated                      complaints                   kept         confidential              includes,                 inter      alia,


          engineers,          medical            physicists,                mental           health         practitioners,                  nurses,             and     psychologists).                        In addition,


          other      similarly           situated           individuals,                  including           other        employees                   and       elected          officials              of the        City        and




                                                                                                                    19



                                                                                                           27 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                             INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 28 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          other       police         officers         who         work         in the          City       (e.g.,         those         employed              by        the     Port           Authority,            MTA,          and


         New          York        State         Troopers)                are     not          being           singled          out.         Of        course,             firefighters                 and      officers           are


          different            from         other          professionals                      in    many              ways,        which              may-in                   certain            circumstances                   not


         presented             here-require                       different             treatment.                    But        the      critical          inquiry                is    whether             the     particular


          disparate            treatment              in     question                bears          "a        rational           relationship                 to        an     appropriate                   governmental


          interest."
                               Able,         155      F.3d        at 631.             Here,          these        allegations,               which           by         definition               are      unsubstantiated


          and      potentially             untrue,          would         do nothing                  but       harm         the    firefighters,                 police,               and     correctional            officers


          and       their        families-and,                      by         extension,                 the         government                     they          serve-by                     subjecting             them             to


          retaliation            for      unproven               wrongs.               This         harm          is not         speculative:                it       already            happens,            even       without


          these        records            being          publicized.                    See,         e.g.,        Benjamin                Mueller                 &      Al        Baker,          Police            Officer            Is


                                                            Uniform'
          'Murdered                for        Her                                      in      the        Bronx,              N.Y.           Times                (July            5,         2017),         available                  at


          https://tinyurl.com/y7ngmdth.                                         No          legitimate             government                  interest               justifies            the     City's          decision             to


          single        out    the       officers          in this       way.



                         Indeed,            the      City        does          not      release             Unsubstantiated                          and     Non-Final                        Allegations             for      other


         professionals.                    In New           York's             online          database               of    professional                   misconduct,                    the      City      only      includes


          those         allegations               that       result        in         an      adverse             disciplinary                 action              against               the      professional.                   See


         Enforcement                              Actions,                           Office                      of                the                 Professions,                                 available                           at


          http://www.op.nysed.gov/opd/rasearch.htm#                                                              (listing          only       actions              against              professionals                that      result


          in an adverse                  action).           Respondents                      have        no     practical           reason           to treat            Petitioners                any      differently.



                         Finally,           even         those      charged                 with      criminal              offenses,          have         their         records              automatically                sealed


          when         they      are     found        not     guilty.See                    CPL       § 160.50              (automatically                    sealing              cases         on "the           termination


          of    a criminal               action       or     proceeding                     against            a person            in     favor        of     such            person").                The      firefighters,


         police         officers,            and      correction                officers              who         protect          the       City          should             be        given       at     least      the      same




                                                                                                                       20



                                                                                                               28 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                          INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 29 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




         protections.                     The     release          of these              documents                      thus         violates              equal             protection.


                                            4.              Release                of     the        Documents                        Would                Constitute                   a Breach                of       Settlement

                                                            Agreements.


                            Respondents'
                                                            proposed                    release             is     also        an       anticipatory                         breach           of      negotiated                    settlement


          agreements                  between              police           officers                and          the     NYPD               that           were          entered              into        before              the    repeal         of



          § 50-a            (the     "Settlement                  Agreements").                             By         operation               of      law,            the     Settlement                 Agreements                      include


          the       confidentiality                 protection                   provided                by      § 50-a.


                            "Settlement               agreements                      are      contracts                and        must        therefore                 be construed                     according                 to general


                                                           law."
         principles                of contract                             Red          Ball        Interior             Demolition                    Corp.             v. Palmadessa,                        173        F.3d           481,     484


          (2d        Cir.          1999).           Here,           the          Settlement                      Agreements                         will          be          breached               if     they          are        not         kept


          confidential.                   Under           New        York             law,          "[u]nless                the     contract               provides                 otherwise,                the       law        in    force      at


          the       time      it is entered                into     becomes                    a part            of     the        contract.                It is presumed                         that    the        parties            had      that


          law        in     contemplation                   when            the         contract                 was         made,          and            the         contract             must          be    construed                  in     that


          light."
                            Skandia              America            Reinsurance                          Corp.           v. Schenck,                  441          F.        Supp.          715,      724        (S.D.N.Y.                  1977),



          citing           Dolman           v.     U.S.     Trust           Co.,         2 N.Y.2d                  110,        116        (1956);                see         also,     e.g.,        Morgan               Stanley            &     Co.


         Inc.         v.    Archer              Daniels,            570          F.      Supp.             1529,              1541        (S.D.N.Y.                          1983)          (same).             "With               respect          to


          reasonable                  expectations,                   it     is       axiomatic                       that     the        parties                 to     an          agreement                 will           interpret            the


                                                                                                                                                                                               law."
          instrument                  governing               their          relationship                        in      accordance                        with          existing                               Madison                   Ave.       v.


         Madison               Bentley,            30 A.D.3d                 1, 8 (1st               Dep't             2006).


                            Williston's              treatise              agrees,             confirming                     that      this         is     a well-established                             rule          of     law,        and      in


         particular                that     the    rule      applies              to contracts                    with         the     government:


                                            [T]he          incorporation                       of        applicable                 existing               law         into      a contract                does
                                            not      require           a deliberate                        expression                  by       the         parties.             Except              when            a

                                            contrary           intention                 is evident,                   the    parties           to a contract-including                                        the

                                            government,                     in     a contract                     between               the         government                        and       a private
                                            party-are                 presumed                      or     deemed               to     have           contracted                     with      reference




                                                                                                                              21



                                                                                                                      29 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                  INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 30 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                            to existing               principles                of     law.         An intention              not     to adopt                existing            law

                                            may         be manifested                      by        a contractual              provision             to     such         effect,           and        in
                                            most        jurisdictions,                  the        intent        to modify             applicable             law        by         contract               is
                                            effective            only        when             it is expressly                  exercised             by     a valid             contractual
                                            stipulation.


          11     Williston                 on      Contracts                 §    30:19              (4th      ed.      2020)          (citing             cases;            emphasis                  added;                 footnotes


          omitted).             "Under             this       presumption                     of      incorporation,                valid          applicable                 laws        existing                   at the      time        of


          the     making              of        a contract              enter           into          and      form           a part        of      the      contract                as fully                   as     if     expressly

          incorporatedinthecontract."
                                                                                 Id.    (citing             cases;      emphasis              added;         footnotes                 omitted).                     The      rationale


          for    this     rule        is that          "the      parties           to      the        contract          would          have         expressed                 that        which             the        law       implies


                                                                                                                                                                                                                                it.'"
          'had     they      not       supposed                that      it was         unnecessary                    to speak          of it because                   the        law     provided                    for               Id.


          (citation         omitted).                  "The      principle                 that        existing         law       is incorporated                      into         a contract                   even         when        the


                                                                                                                                                                        circumstances."
         parties        make           no        reference            to it has            been         applied          in    a wide            variety          of                                                  Id.



                          Here,        the        Settlement             Agreements,                        which        were       entered           into        before             repeal           of        § 50-a,         must       be


          construed              to     incorporate                   the        confidentiality                      protections                provided               by      that        law.                 Section            50-a's


         requirement                  of confidentiality                         was       incorporated                 by     operation             of law            in the         Settlement                     Agreements,

                                                                                                                                                                                               it."
          and     therefore             it was           "unnecessary                    to      speak         of     it because            the     law      provided                 for                       11 Williston               on


                                                       Respondents'
          Contracts             § 30:19.                                                proposed               data      dump          would          make             public          Settlement                     Agreements



         which,         because              of binding                contracts,                must         be kept          confidential.                 The         officers             who               entered         into      the


          Settlement                  Agreements                      reasonably                      expected            those          agreements                      would              remain                     confidential



          indefinitely,                    are         they       are            legally              entitled            today          to         demand                   that         continued                         protection



         notwithstanding                         the    repeal          of       § 50-a.


                          The      threatened                 release            is an anticipatory                      breach         of the        Settlement                    Agreements.                             Because          of


          the     serious             consequences                      of       the       imminent                  public       disclosure                 of        those         matters,                   Petitioners               are




                                                                                                                        22



                                                                                                               30 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                               INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 31 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          entitled          to preliminary                    and       permanent                    injunctive            relief         enforcing               the      right       to confidentiality                         in the


          Settlement                 Agreements.


                                                              Respondents'
                                             5.                                                 Decision              to     Release             Unsubstantiated                              and         Non-Final

                                                              Allegations                 Was           Affected             By       Errors            of        Law       or        Was       Arbitrary                   and

                                                              Capricious.



                         Finally,              Petitioners               are     likely         to      succeed            on     the       merits           of    their         claims         under            Article          78   to


                      Respondents'
          annul                                           determinations                        to     release          Unsubstantiated                            and        Non-Final                 Allegations                 and


         prohibit             the    release          of any           police        disciplinary                 records           that      implicate             the privacy                 and        safety       concerns


                officers.9
          of                               Based        on       the     legal        claims            above           and,        in      addition,             because             these          records          cannot           be


          released            without             considering                  the    potential               privacy           interests            at stake,             the        decision            to     release          them


          all      at once           was       affected           by      errors          of    law          under        CPLR              § 7803(3).                  But         even       if    no     error       of    law        is



          found,         it        nonetheless                was        arbitrary              and          capricious               for      Respondents                       to     break          with         established


         practice             on the         protections                afforded            Unsubstantiated                         and      Non-Final               Allegations                    - under          the     pretext


          of the      repeal           of                     - without                                               in reason               or regard             for
                                               § 50-a                                a sound             basis                                                                the     relevant             facts.


                         This         proceeding                 implicates               two        provisions              and         standards            of review                under          CPLR           § 7803(3).

                                                                                                         Respondents'
          First,      the          Court       must        determine                 whether                                                imminent               proposed                  action        is "affected                by

                                     law."
          an error            of                   CPLR           § 7803(3).                   "[C]ourts              apply          a less       deferential                  standard,              deciding              whether


                                                                                                               law'
          decisions                 were          'affected             by      an     error            of                   rather           than       whether                 they         were             'arbitrary           and


          capricious'"                                                                                                                                                                                records."
                                       when          reviewing                 an agency's                   decision           to release              or withhold                   public                                 Matter



          of    Crawford                v. N.Y.           City      Dep't            of Info.           Tech.         &      Telecomm.,                  2017           N.Y.          Slip      Op.        30982(U),                *21


          (Sup.       Ct.,           N.Y.         Cnty.          2017)           (citation              omitted).                   Second,             the        Court            must            determine               whether


          Respondents'                                                                                                                                                                        discretion."
                                            action        or inaction                "was        arbitrary            and       capricious               or an abuse                   of                                   CPLR          §




                         9 An
                                     Article
                                  78 proceeding  enables a party to challenge    a threatened  or actual determination    in violation    of
                                                                                                                 Defendants'
          law that was carried  out by an administrative   body.  It is a proper mechanism     for challenging                  decision.
          See Mulgrew    v. Bd. Of Educ. of the City of N.Y., 87 A.D.3d     506, 507 (1st Dep't 2011) (Article    78 proceeding
                      teachers'
          brought by             union to block release of teacher performance      data by the Department     of Education).




                                                                                                                        23



                                                                                                               31 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                            INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 32 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          7803(3).            An agency                  action       is arbitrary             "if     it is taken                without              a sound              basis      in reason            and       generally

                                                          facts."
          without           regard          to the                      Nestle          Waters                 N. Am.,           Inc.         v. City          ofN.Y.,           121      A.D.3d             124,         127      (1st


          Dep't         2014);            see     also       Encino          Motorcars,                   LLC           v. Navarro,                    136       S. Ct.         2117,          2120         (2016)           ("One


         basic         procedural                requirement                of    administrative                        rulemaking                    is that          an     agency           must         give         adequate


         reasons            for     its    decisions.              Where         the    agency                 has      failed         to provide                even         a minimal             level        of analysis,


          its    action        is arbitrary              and       capricious           and          so cannot                 carry         the      force       of     law.").


                                                                            It   Is    an     Error              of     Law           to     Release            Unsubstantiated                            and      Non-
                                                             a)
                                                                            Final     Allegations,         which                             Violates             the        Legally           Protected
                                                                                                Petitioners'
                                                                            Interests       of                                              Members.


                           In public             statements,            Respondents                   have             directly             tied      their      decision              to release            these         records


                                                                                 Respondents'
         with        the     recent         repeal        of      § 50-a.                                              conclusion                   that     these       records          may         now          be released



          legally,          and      en masse,            because            of that        repeal             is erroneous                   as a matter              of law          under       CPLR             § 7803(3).


          In     addition            to    the     legally          protected           interests                described                  above,           as is widely                recognized,                 including


         by      the       proponents              of     § 50-a's           repeal         and       the        Court           of        Appeals,            § 50-a          was       never         the       only       source


                 Respondents'                                                                                                                                 Petitioners'
          of                                     obligation           to protect             the     privacy                and        safety          of                               members.


                                          Respondents'
                           First,                                     decision          ignores                legislative                 intent          regarding           the     repeal         of    § 50-a.          While


          that       law     provided               an    express            prohibition                  to     disclosure                  of      all     police,          firefighter,             and         corrections


                                                                                                                contents,10
          officer          personnel             records,           regardless              of their                                        the      history           of the        legislation             demonstrates


          a clear          understanding                   that      other       sources             of        law      would               provide            continuing               protections                 for     certain


          types        of     police             personnel            records.               As        even             the       most              vocal        advocates               for       repeal           of      §      50-a



          recognized,                other        laws       are     intended          to prevent                     the     release             of records            when           disclosure            will         result      in




                           10 Section  50-a provided     that "[a]ll personnel      records used to evaluate performance         toward continued
                                   promotion"
          employment                or           of police officers,     corrections    officers, paid firefighters,    and others, "shall be considered
                                                                                                                   consent"
          confidential         and not subject to inspection        or review without      the express written               of the employee   or as
                                                order."
          "mandated           by lawful court              Civ. Rights Law § 50-a(1).




                                                                                                                       24



                                                                                                               32 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                       INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 33 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          unwarranted                  invasions                 of personal                       privacy.               Indeed,              these        protections                were          expressly            cited         by    the


                                                                                                                                                                                              "unnecessary."
          sponsor            of the        enacted              Senate             bill       to repeal              § 50-a           as a reason               that       law      was                                            Sponsor



          Mem.,                  N.Y.                     Senate                       Bill                   S8496,                     available                        at             https://www.nysenate.ge/


          legislation/bills/2019/s8496.                                                As         a backdrop                     for         the       repeal,            these          statements                signal         that        the


          legislature                did     not         intend            the         release              of     all      personnel                  records             previously                protected              by         § 50-a.


          Rather,         they         indicate                an     expectation                      that       agencies              judiciously                  review            such        records             before          release


          to ensure            proper             protection                 of     officer             privacy                and     safety.



                         Moreover,                      the     Court             of        Appeals               has      held         that         individuals                 may       have          a "legally             protected


                             interest"
         privacy                                   in     ensuring                 public            records              disclosures                  do      not     violate            their       privacy            interests.              In


         New          York       Times             Co.        v. City        of New                 York         Fire       Department,                       the    Court         held       that       "surviving               relatives


                                                                                                                                                                                           interest"
          [of   911      callers            on        September                    11, 2001]                  have         a legally                protected          privacy                                  in nondisclosure


          of    tapes         and      transcripts                   of      those            calls.             4 N.Y.3d               477,          485       (2005).             In     determining                   whether             any


          invasion            of privacy                 is unwarranted,                            the       Court            "balance[d]                the       privacy            interests           at stake          against          the


                                                                                                    information."
         public         interest             in       disclosure                  of        the                                          Id.          While          recognizing                   the        "legitimate               public


                                                                                                       calls,"
          interest       in the            disclosure                of these               911                          the     Court          concluded                 that     this     interest           was      "outweighed



         by     the     interest            in privacy                 of those               family             members                 and         callers         who         prefer       that       those         words           remain


         private."
                               Id.     at 486,            487 ; see                also           Dorsett           v. Cnty.             of Nassau,                  289       F.R.D.          54,       60     (E.D.N.Y.               2012)

                                      officers'                                                                                                                                                                   publication"
          (noting         that                                 "privacy                 interests                would           be      seriously              jeopardized                   with        the                                    of


                                                                                                                                     Petitioners'
          internal           reports             to      the        public             at     large).              Here,                                         members                  have        a privacy              interest            in


         nondisclosure                      of        allegations                   that           may           tarnish             their          reputations                despite            being,          in     many           cases,


         without          merit;            this        outweighs                  any        public             interest            in reviewing                   and     relying           on allegations                    that     could


                                                                                                                                                                                                                            interest"
         be     misleading                  or        simply              false.             At      bottom,               those             with       a "legally               protected               privacy                                 in


                                                                                                                                                                                                                       Respondents'
         nondisclosure                     of      government                      records              must            have         a means             of     enforcing              that       interest.




                                                                                                                                 25



                                                                                                                         33 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                       INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 34 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          data      dump       deprives                 the     identified              individuals                   of that           opportunity.


                        Section             50-a        was       never          the        only        source           of the          privacy        protections                         for     Unsubstantiated                             and


         Non-Final            Claims.                   For     example,               in     1979,            shortly         after        § 50-a          was        codified,                   the         Court          of Appeals


                                                                                                                                                                                 consensus"
          observed            that           §     50-a           "fairly              reflects                the       pre-existing                  judicial                                                     regarding                   the



          confidentiality               of police                personnel                  records.             People             v. Gissendanner,                             48     N.Y.2d                 543,          551      (1979).


          In other       words,             the    privacy              protections                 pre-existed                  § 50-a           in the     common                     law         and         likewise              survive


          its repeal.         More           recently,                in Luongo              v. Records                 Access            Appeals           Officer,                  168         A.D.3d               504     (1st       Dep't



          2019),       the     court             considered               a request                 for        NYPD            personnel               orders,              which                 contain              summaries                  of


          employment                 updates              for     both         officers             and         civilian           employees                of        the        NYPD,                  including                  transfers,


         promotions,              retirements,                    and       disciplinary                  dispositions.                    The      First     Department                           affirmed                  the    decision


          to withhold            the    records                under        § 50-a,           noting            that     the       records          contained                "material                    ripe         for    degrading,

                                                                                                                                                    officer[s]."
          embarrassing,                harassing                 or impeaching                      the        integrity           of     [the]                                       Id.     (alterations                    in original)


          (internal         quotation              marks              omitted).              Respondents                      committed                an error              of        law         by      failing            to consider


          the    privacy         rights            of     officers             separate             from             § 50-a,        particularly                 in     light           of        the      legislative                history

                                                                                                                                                                      officers'
          suggesting           the      repeal            of     § 50-a          should            not         be understood                  to upend                                            privacy              rights.



                        Moreover,                 the         Committee                on Open                 Government                   has     long         taken            the        position               that      the     release


          of    unsubstantiated                     allegations                 constitutes                    an unwarranted                      invasion                 of    privacy.                     As       one         advisory


          opinion          explained:                  "when           allegations                 or     charges             of    misconduct                   have            not         yet        been           determined                 or


          did    not    result         in    disciplinary                   action,           the         records           relating          to     such         allegations                      may           ...     be        withheld,


          for    disclosure             would                result       in    an      unwarranted                        invasion           of     personal                privacy                    ....        Further,              to    the


          extent       that    charges                 are     dismissed               or     allegations                  are      found          to be      without                   merit,             I believe               that        they

                                                                                                                privacy."                                                                                                              FOIL-
          may      be withheld               based             on considerations                          of                             Comm.          on Open                   Gov't,            Adv.            Op.       No.


         AO-17195                (May            29,      2008),          available                at https://does.dos.ny.gov/coog/ftext/f17195.html                                                                                (internal




                                                                                                                         26



                                                                                                                34 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 35 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          citations          omitted).              Another               opinion             states:         "In     numerous                 contexts,               it has       been             advised         that        records



          relating          to     unsubstantiated                        charges,               complaints                  or     allegations                  may          be      withheld                 to     protect               the


                                          accused."
         privacy           of the                                  Comm.               on Open               Gov't,         Adv.          Op.        No.        FOIL-AO-12005                               (Mar.       21,       2000),


          available              at https://does.dos.ny.gov/coog/ftext/f12005.htm.


                                              Respondents'
                        Because                                                  failed         to        consider          these        other         sources            of protection                      for     information


          in    government                   records,             which              exist       independently                      of     § 50-a,              as well            as because                   of    the         legally


         protected               interests          identified             above,             their         decision          was         affected              by     an error            of        law.


                                                                                It    Is Arbitrary                    and        Capricious                     To     Break          with             Long-
                                                            b)
                                                                                Established                   Practice             Without                  a Sound             Basis            in     Reason              or     Due

                                                                                Regard               to     the     Relevant               Facts.


                        At       a minimum,                 by proceeding                        without             due     consideration                      of the        many         authorities                 counseling


          against          disclosure              of Unsubstantiated                            and        Non-Final              Allegations                   and      even        their           own      past      treatment


                                               -                                                                                    -      Respondents'
          of     such       records                  separate              and         apart          from           § 50-a                                                   decision                 was         arbitrary                and


          capricious              under        CPLR              § 7803(3).


                        Absent               reasoned              analysis,                 Respondents                    are     not        free        to    set      aside          legislative                 intent,           their


         previous            judgments                on         the     same           issue,            statements              by     the         Committee                 on     Open              Government,                         and


          the    expectation                 set by        the         courts         of this         State         in considering                    the       privacy            and      safety           implications                     of



         releasing           personnel               records.              While             Respondents                    are     free       to change               policies,            they            may      not         do    so at


          the    expense             of    the      long-settled                     reliance             interests         of    firefighters                  and       officers              in    the      confidentiality


          of Unsubstantiated                         and      Non-Final                   Allegations.                     See In         re Liquidation                      of    Union              Indem.          Ins.           Co.     of


         N.Y.,        92     N.Y.2d                107,      122         (1998)              ("The           Superintendent                      must            adopt         policies                in    a coherent                     and


          consistent              manner            with         appropriate                  regard          for     those         previously                  taken         or must                explain          the        reasons


          for    variations               among            policies.");                 In      re    Charles              A Field          Delivery                  Serv.        Inc.,         66     N.Y.2d              516,            520



          (1985)        (stating           that      "when              an agency                determines                 to alter           its    prior          stated        course             it must         set forth              its




                                                                                                                       27



                                                                                                                  35 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                       INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 36 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          reasons       for    doing            so[.]        ...     Absent             such          an explanation,                           failure          to conform                  to agency                precedent            will,


          therefore,          require            reversal                on the         law       as arbitrary...").



                       Only        four         years         ago,         the      City        stated            that      disclosure                   of police               personnel               records         "concerning


          any     matters           that         were              not      substantiated                         ...     would                 ...     represent                 an      unreasonable                    invasion                 of


         privacy."
                              Hughes               Hubbard                   &      Reed.,             53        Misc.          3d        at 950              (Sup.        Ct.,      Kings            Cnty.           2016)       (citation


          omitted).           And          in    2014,             the      City        denied               a request                for        disclosure                 of    allegations                 brought            against            a


          specific      police           officer,            not          only       on       § 50-a              grounds,                but         because              a "request              for     records             relating            to


                                                                                                                                                                                                 privacy.'"
         unsubstantiated                    matters                 would            constitute                    'an      unreasonable                          invasion                of                                  Luongo               v.


         Records        Access              Off,        150         A.D.3d              13,      16 (1st            Dep't            2017)             ("In      addition              to the         statutory          exemptions,


          CCRB         noted         that        the    request               for       records              relating                to unsubstantiated                             matters            would           constitute             'an


                                                                                                                                                                                                                                 analysis"
         unreasonable                 invasion                of         privacy.'").                   Their             reversal                lacks          "even            a minimal                 level        of


         beyond        the        erroneous              conclusion                     that          the        repeal         of        § 50-a          permits            disclosure.                  Encino          Motorcars,


          136    S. Ct.       at 2120.


                       This        invasion              of         privacy               also         has         implications                        for      the        safety         of     officers.               As      the       First


          Department               has          explained,                  the      release                of     police             personnel                  records               may         pose        a "possibility                      of


          endangerment"
                                           to officers.                   Luongo,                150        A.D.3d              at 25-26.                    Naming              officers          in an easily                accessible


          database          and    listing          every            charge           ever        levied                against           them,          regardless                 of outcome                or substantiation,


         will    provide           motivated                  and          unstable              individuals                    with         all       the      information                    they       need         to track           down


          specific       police            officers.                 The          news           is     replete             with            examples                  of     police            officers            who         have       been


          targeted       and       killed          because                 of their           uniform.                   In recent                years,         three           New        York          City        police       officers


         have        been      targeted                and          assassinated.                       In        2014,           Officers                   Wenjian              Liu        and       Rafael            Ramos            were


          ambushed             and       killed         while              sitting         in     a patrol                car        in    Brooklyn.                   (Petition               ]F 74.)           In    2017,          Officer


          Miosotis          Familia             was      shot            at point-blank                      range          while            sitting            in her           patrol        car.        (Id.)        And       in 2018,




                                                                                                                            28



                                                                                                                   36 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                      INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                12   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 37 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




          federal             authorities            arrested          a Brooklyn          resident             for        targeting           NYPD               officers             with         an     improvised


          explosive               device,        and       killing       an innocent             civilian          in the        process.             (Id.)           As    these        incidents               continue


          and          even      accelerate,              officers        have      a reasonable               interest           in     ensuring                their        safety          and        the     safety      of


          their         families.


                                               Respondents'
                           Because                                              sudden     turnabout                  in     policy          was        effected               without              regard          for      its


          established               practices             and     settled        expectations,              and       made        without             even            a minimal               level       of     analysis,


          it was          arbitrary           and     capricious.


                                                                                            CONCLUSION


                           For      the      foregoing               reasons,      Petitioners              respectfully                request         that          the      Court          grant        the     motion


          in     its    entirety,           including           the     TRO        requested          in the          Proposed               Order          to     Show          Cause           accompanying


          this         Memorandum                    of   Law.


          Dated:           July       14,     2020                                                                         DLA         PIPER           LLP             (US)
                          New         York,         New         York


                                                                                                                           By:      /s/ Anthony                  P.      Coles

                                                                                                                           Anthony             P. Coles

                                                                                                                           Michael             R.     Hepworth

                                                                                                                           1251        6th     Avenue

                                                                                                                           New         York,          NY         10020

                                                                                                                           Telephone:                 (212)           335-4844

                                                                                                                           Facsimile:               (212)          884-8644

                                                                                                                           Email:         anthony.coles@dlapiper.com

                                                                                                                           Email:        michael.hepworth@dlapiper.com


                                                                                                                           Courtney             G.     Saleski

                                                                                                                                 (pro        hac      vice        to be filed)

                                                                                                                           1650        Market           Street,             Suite       5000

                                                                                                                           Philadelphia,                PA            19103-7300

                                                                                                                           Telephone:                 (215)           656-2431

                                                                                                                           Facsimile:               (215)          606-2046

                                                                                                                           Email:         courtney.saleski@dlapiper.com


                                                                                                                           Attorneys            for     Petitioners/Plaintiffs




                                                                                                              29



                                                                                                     37 of 37
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                             INDEX NO. 154982/2020
NYSCEF DOC. NO. Case
                13   1:20-cv-05441-KPF Document 10-12 Filed 07/17/20 Page 38 of NYSCEF:
                                                                      RECEIVED  41      07/14/2020




                                 Exhibit                  A
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                               INDEX NO. 154982/2020
     FILED,
NYSCEF      Clerk of the Appellate
         DOC.   NO. 13            Case 1:20-cv-05441-KPF
                                            Division, July 08, 2020, Document
                                                                      A-003950-19, 10-12     Filed 07/17/20 Page
                                                                                    M-007532-19                  39 of NYSCEF:
                                                                                                             RECEIVED  41      07/14/2020


                                                                                                   ORDER     ON MOTION
                                                                                                   _______________




                                                                                                                          SUPERIOR                       COURT              OF         NEW             JERSEY
       STATE           TROOPERS                            FRATERNAL                                                      APPELLATE                        DIVISION
       ASSOCIATION                         OF          NEW             JERSEY,                                            DOCKET                   NO.           A-003950-19T4
       V.                                                                                                                 MOTION                   NO.           M-007532-19
       STATE           OF          NEW          JERSEY;                    GURBIR                                         BEFORE                                 PART             K

       S.       GREWAL,                   IN          HIS          CAPACITY                                               JUDGES:                                ALLISON                         E.      ACCURSO
       AS       ATTORNEY                   GENERAL;                                                                                                              PATRICK                         DEALMEIDA
       COLONEL                    PATRICK                    J.

       CALLAHAN,                     IN         HIS               CAPACITY
       AS       SUPERINTENDENT                                     OF      THE

       DIVISION                    OF      STATE                   POLICE;
       AND       THE              DIVISION                        OF      STATE

       POLICE,


      MOTION            FILED:                              07/02/2020                                                   BY:              STATE            TROOPERS                         FRATERNAL
                                                                                                                                          ASSOCIATION                            OF         NEW              JERSEY


      ANSWER            FILED:                              07/07/2020                                                   BY:              GURBIR                S.         GREWAL




      SUBMITTED                     TO         COURT:                  July          07,          2020


                                                                                                                      ORDER
                                                                                                                      _____

                  THIS             MATTER                    HAVING                 BEEN          DULY              PRESENTED                        TO         THE         COURT,                      IT       IS,         ON       THIS
      8th       day          of      July,                   2020,              HEREBY             ORDERED                          AS      FOLLOWS:



      MOTION            BY                APPELLANT


      MOTION            FOR          EMERGENT                          RELIEF                                            GRANTED                   AND          OTHER




      SUPPLEMENTAL:                                   Police                  unions              representing                                State                  and         municipal                         officers                   in

      these           five           appeals                        challenging                         Attorney                          General                    Directives                              2020-5            and

      2020-6         ordering                              public           disclosure                              of         the          identities                           of          officers                   who           have

      been        sanctioned                               for         serious               disciplinary                                   violations,                               defined                    as

      "termination                             of          employment,                       reduction                              in      rank           or          grade,                    and/or                suspension
                                                               days,"
      greater                than              five                                  seek           a     stay                 of         their            implementation                                        pending
      appeal.                     They              contend                   the      directives                              "voided                    decades                     of          settled
      expectation,"                                                                                                                                                         enforcement                                personnel
                                                    that            the         disciplinary                               records                   of         law

      are       confidential                                 and          privileged,                          that                 the       directives                              are             contrary                 to

      protections                         afforded                        them         by         statute                      and          regulation                           as         well              as       the          State

      and       federal                   constitutions,                                    and         that               they             will           be          irreparably                               harmed,                and
      their           appeal                   effectively                           mooted,                   if          implementation                                   is             not          stayed               while            we
FILED: NEW YORK COUNTY CLERK 07/14/2020 09:50 PM                                                                                                                                                                                        INDEX NO. 154982/2020
     FILED,
NYSCEF   DOC.   NO. 13          Case 1:20-cv-05441-KPF
            Clerk of the Appellate        Division, July 08, 2020, Document
                                                                    A-003950-19, 10-12     Filed 07/17/20 Page
                                                                                  M-007532-19                  40 of NYSCEF:
                                                                                                           RECEIVED  41      07/14/2020
      consider                  their                  challenge.                                    The           unions                       note             that                  a      significant                                   number                       of

      their            members                       entered                       into              voluntary                             settlements                                      over               the              past          twenty
      years            accepting                           major                   discipline                             in          reliance                             on          the              Department's                              assurance
      that           those       records                               would                   remain                   confidential.


                     The        Attorney                          General                        candidly                           acknowledges                                       both               the              sea             change                   in          his
      Department's                      position                                   on          the          confidentiality                                                of          internal                            affairs                      records
      the          Directives                          represent,                                and          that        appellants                                            would                   ordinarily                            be             entitled
      to       a     stay            to          maintain                          the           status                   quo              pending                         appeal                       under                   settled                      law.                   He

      asserts,                  however,                          that               appellants                                have               little                        likelihood                                 of         prevailing
      given            the           powers                     the           Legislature                                 has              vested                     in          the           Attorney                              General                       as          New
      Jersey's                  chief                  law             enforcement                                 officer                       under                     the              Criminal                            Justice                      Act.

      Moreover,                      he          contends                          that              at          this               "critical                              juncture                            in          the             State's                       and
                                                 history,"
      the          Nation's                                                          when                 our           citizens                           have                 joined                    their                   fellow
      Americans                      across                     the           country                          "demanding                              reforms                         and
                                                                                                                                                                                       accountability                                                          of             law
      enforcement,"
                                                     and          "the               ties              between                        many                 law             enforcement          agencies                                                     and              the
                                                                                                     straining,"                                                                 must
      communities                           they                serve                are                                                         that                 he                                act              quickly                       and

      decisively                          on    behalf                        of          the             public                    and           "[t]he                        vast               majority                           of          law
      enforcement                           officers                          in          New
                                                                                       Jersey                                       [who]                  serve                 with                   honor                   and          astonishing
      courage"
                                and              have             never        incurred                                   major                  discipline,                                       "to              promote                    trust,
                                                                accountability,"
      transparency                               and                                                                           by          implementing                                       the              Directives
                                                                                                            appellants'
      immediately,                               notwithstanding                                                                                  challenge                                        to          their                   legitimacy.
      The   Attorney                             General         reminds                                    us          that               "sometimes                                  the              status                    quo             is
                                                                                                                   preserved."
      unacceptable                               and            should                    not             be



                     Having                 considered                               the             positions                             of          the         officers                               affected                           by         these
      dramatic                  changes                         and           the              Attorney                        General,                          and              aware                   of             the           enormous
      public               interest                        in          this               issue,                   illustrated                                   by             the           applications                                     of            the
      twenty-five                           organizations                                        that              have               already                      petitioned                                       to          participate                                   as
                                                                                                                                                                                              officers'
      amicus,                 we          apply                 well-settled                                     law           to       preserve                                the                                                    challenge                              by
      staying                 implementation                                         of          the             Directives                                pending                          our           disposition                                   of          the
      appeal.                   In           light                of          the              importance                             of         the             issues                       and              the              compelling                               need
      for          prompt                 resolution,                                we          accelerate                                the             appeal                      in          accordance                          with                    the

      following                      schedule:



                                     Statement                           of          Items                                                          July                   15,              2020

                                   Appellant's                                     Briefs                                                           August                        5,          2020

                                     Respondent/Amicus                                                    Briefs                                    August                        19,              2020

                                     Reply                 Briefs,                        if         any                                            August                        26,              2020



      The          appeal                 will             be          calendared                                for           oral               argument                             before                       Part               C     on         October
      15,          2020.                  All          dates                  are              peremptory.




                                                                                                                                           2
FILED: NEW      YORK COUNTY CLERK 07/14/2020       09:50 PM                                                                                                             INDEX NO. 154982/2020
NYSCEF DOC. NO. Case 1:20-cv-05441-KPF
                         Division, July 08, 2020, Document
       Clerk of the Appellate
     FILED,                              M-007532-19
                                                  A-003950-19, 10-12 Filed 07/17/20 Page 41 of NYSCEF:
                                                                                               41
                13                                                                   RECEIVED          07/14/2020

                 The      Attorney                   General                has        expressed                  the         intention              to       provide        to      each
    trooper              and    officer                    in       the       Department                    of         Law      and       Public        Safety            whose
    identities                  were          to          be      made        public          on        July            15      in      accordance              with       Directive
                                                                                                                                                     possible."
    2020-6             notice          of          that           fact        by       July        8,       2020,             "whenever                                           This
    order         does          not         stay           that           notice.




                                                                                               FOR               THE     COURT:




                                                                                                    AsE                              Aewm9
                                                                                               ALLISON                   E.          ACCURSO,             J.A.D.



    MER-L-1140-20                            MERCER
    ORDER -      REGULAR MOTION
    CLD




                                                                                                        3
